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                       ADDENDUM


Subject Attorneys’ Comments and/or Objections to
 the Report Pursuant to the Court’s Order, dated
                February 8, 2012


                          Exhibit 2a


                    JAMES A. GOEKE
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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
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In re SPECIAL PROCEEDINGS                          Misc. No. 09-mc-00198-EGS
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                                             x




                 Submission on Behalf of James A. Goeke


                            Appendix of Exhibits




                                                     Matthew I. Menchel
                                                     Danielle L. Rose
                                                     Daniel L. Rashbaum

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                                                     New York, New York 10022
                                                     Tel +1 212 488 1200

                                                     Counsel for James A. Goeke
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                       EXHIBIT A




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                                                                             CRM BOTTINI 033612


From:             Sullivan, Edward
To:               "Bateman, Larry"; Bateman, Larry; Bottini, Joe; Bottini, Joe (USAAK);
                  Bradison, Jodi (USAAK); Goeke, James (USAAK); Joy, Chad E. (FBI);
                  "Kepner, Mary Beth"; Marsh, Nicholas; Morris, Brenda; "Roberts, Dennis";
                  Roberts, Dennis; Sullivan, Edward; Walker, Kelli (USAAK);
Subject:          Please confirm that the judge is aware of the ECF filing problem.
Date:             Monday, September 29, 2008 5:04:00 PM



Jim and I are totally in the dark re: what’s going on in court.




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                                                                                       cRM089170




      From:             Welch, William
      To:               Sullivan. Edward: Bottini, Joe (USAAK): Goeke, James (USAAO:
                        Marsh, Nicholas;
.;¡   cc:               Morris, Brenda;
      Subject:          Polar Pen
      Date:             Thursday, December 20,2007 5:18:00   PM


      I understand PRAO rendered their    advice. I tried to call Nelson to talk to him, but
      he was in a meeting.

      We've done all that we are going to do on the matter. I'm off for vacation starting
      tomorrow, but will try to talk to Nelson sometime next week. ln the meantime,
      nothing will be filed in our case. Joe and Jim, per the recusal notice, you work for
      PlN, and so these are your marching orders until I talk to Nelson.




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                                                       MEMORANDUM FOR DEPARTMENT PROSECUTORS
                                                                             Monday, January 4, 2010


  FROM:       David W. Ogden
              Deputy Attorney General
  SUBJECT: Issuance of Guidance and Summary of Actions Taken in Response
           to the Report of the Department of Justice Criminal Discovery and
           Case Management Working Group


  Earlier this year, on behalf of the Attorney General, I asked the Assistant Attorney General of the Criminal Division and the Chair of the Attorney General’s Advisory
  Committee to convene a working group to undertake a thorough review of the Department of Justice’s policies, practices, and training related to criminal case management
  and discovery and to evaluate areas for improvement. Members of this working group included senior level prosecutors from United States Attorneys’ Offices (USAOs) and
  Main Justice, Information Technology support personnel, and law enforcement representatives. In addition, members of the Attorney General’s Advisory Committee and
  the Department’s Criminal Chiefs Working Group reviewed and provided comments on the Report. The case management discovery working group examined current
  Department of Justice policies, and surveyed all of the USAOs, the criminal litigating components of Main Justice, and the Department of Justice’s law enforcement
  agencies, as well as the United States Postal Inspection Service, to evaluate current discovery practices, case management practices, and related training, and to identify
  areas for improvement.

  The Attorney General and I want to thank the members of the Working Group for the time and effort they put into this review and for the thorough and helpful report that
  the review produced. I called for the review in order to determine whether the Department was well positioned to meet its discovery obligations in future cases. The
  Working Group primarily focused on three areas pertinent to this determination: resources, training, and policy guidance. The Working Group’s survey demonstrated that
  incidents of discovery failures are rare in comparison to the number of cases prosecuted. This conclusion was not surprising and reflects that the vast majority of
  prosecutors are meeting their discovery obligations. I thank you all for the extraordinary efforts you make every day in pursuit of criminal justice. Any discovery lapse, of
  course, is a serious matter. Moreover, even isolated lapses can have a disproportionate effect on public and judicial confidence in prosecutors and the criminal justice
  system. Beyond the consequences in the individual case, such a loss in confidence can have significant negative consequences on our effort to achieve justice in every case.

  Justice Sutherland’s observations regarding the role of a prosecutor are as true today as they were when he wrote them over 70 years ago. He wrote:

         The United States Attorney is the representative not of an ordinary party to a controversy, but of a sovereignty whose obligation to govern impartially is as
         compelling as its obligation to govern at all; and whose interest, therefore, in a criminal prosecution is not that it shall win a case, but that justice shall be
         done. As such, he is in a peculiar and very definite sense the servant of the law, the twofold aim of which is that guilt shall not escape or innocence suffer. He
         may prosecute with earnestness and vigor–indeed, he should do so. But, while he may strike hard blows, he is not at liberty to strike foul ones. It is as much
         his duty to refrain from improper methods calculated to produce a wrongful conviction as it is to use every legitimate means to bring about a just one.

  Berger v. United States, 295 U.S. 78, 88 (1935). In the alcove outside the Attorney General’s Office here in Washington, an inscription that rings the space reads: “The
  United States wins its point whenever justice is done its citizens in the courts.” Over the years, the Department has consistently taken the necessary steps to assure that we
  meet these expectations. Towards that end, the United States Attorney’s Manual (USAM) sets forth broad discovery policies that establish the Department’s minimum
  expectations for prosecutors handling criminal cases in all jurisdictions. SeeUSAM §§ 9-5.001 and 9-5.100. In 2006, the Department amended the
  United States Attorney’s Manual regarding Brady/Giglio 1 obligations by requiring prosecutors to go beyond the requirements of the Constitution and “take a broad view
  of materiality and err on the side of disclosing exculpatory and impeaching evidence.” USAM § 9-5.001. With the advice of the Working Group, I have approached any
  further revisions to Department policy with the understanding that local practices and judicial expectations vary among districts, and that a one-size-fits-all approach
  might result in significant changes in some districts and no changes in others.

  As representatives of the United States, our duty is to seek justice. In many cases, broad and early disclosures might lead to a speedy resolution and preserve limited
  resources for the pursuit of additional cases. In other cases, disclosures beyond those required by relevant statutes, rules and policies may risk harm to victims or
  witnesses, obstruction of justice, or other ramifications contrary to our mission of justice.

  Recognizing this reality, we have today issued the Department’s Guidance for Prosecutors Regarding Criminal Discovery that establishes the minimum considerations that
  prosecutors should undertake in every case. This guidance was developed at my request by a working group of experienced attorneys with expertise regarding criminal
  discovery issues that included attorneys from the Office of the Deputy Attorney General, the United States Attorneys’ Offices, the Criminal Division, and the National
  Security Division. The working group sought comment from the Office of the Attorney General, the Attorney General’s Advisory Committee, the Criminal Chiefs Working
  Group, the Appellate Chiefs Working Group, the Professional Responsibility Advisory Office, and the Office of Professional Responsibility. The working group produced a
  consensus document intended to assist Department prosecutors to understand their obligations and to manage the discovery process. I thank all concerned for the
  resulting memorandum.

  By making deliberate choices regarding discovery issues, prosecutors are most likely to comply with discovery obligations imposed by law and Department policy and
  assure that the goals of a prosecution are met. By separate memorandum to the United States Attorneys and to the heads of components that prosecute criminal cases, I am
  directing that each USAO and component develop a discovery policy that establishes discovery practice within the district or component. This directive will assure that
  USAOs and components have developed a discovery strategy that is consistent with the guidance and takes into account controlling precedent, existing local practices, and
  judicial expectations.

  In addition to issuing this discovery guidance and establishing component discovery policies, the Department is taking further steps in response to the Working Group
  report. Each USAO and the litigating components handling criminal cases have now named a discovery coordinator, and those coordinators attended a “Train the Trainer”
  discovery conference at the National Advocacy Center in October. These coordinators will provide discovery training to their respective offices no less than annually and
  serve as on-location advisors with respect to discovery obligations. In addition, we will:

  Create an online directory of resources pertaining to discovery issues that will be available to all prosecutors at their desktop;
  Produce a Handbook on Discovery and Case Management similar to the Grand Jury Manual so that prosecutors will have a one-stop resource that addresses various topics




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  relating to discovery obligations;
  Implement a training curriculum and a mandatory training program for paralegals and law enforcement agents;
  Revitalize the Computer Forensics Working Group to address the problem of properly cataloguing electronically stored information recovered as part of federal
  investigations;
  Create a pilot case management project to fully explore the available case management software and possible new practices to better catalogue law enforcement
  investigative files and to ensure that all the information is transmitted in the most useful way to federal prosecutors.

  These efforts will be overseen by an attorney detailed to Washington to assure timely completion of all of these measures.

  All of the steps that the Department is taking are intended to ensure that we have the resources, training and guidance to meet our obligations and that we thoroughly and
  thoughtfully evaluate our discovery obligations in every case in a manner that facilitates our sole function–to seek justice. Thank in you in advance for your cooperation in
  this effort.




  1 Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972).




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                        MEMORANDUM FOR HEADS OF DEPARTMENT LITIGATING COMPONENTS HANDLING CRIMINAL
                                                        MATTERS

                                                                    ALL UNITED STATES ATTORNEYS
                                                                              Monday, January 4, 2010


  FROM:       David W. Ogden
              Deputy Attorney General
  SUBJECT: Requirement for Office Discovery Policies in Criminal Matters


  Earlier this year, I asked the Assistant Attorney General of the Criminal Division and the Chair of the Attorney General’s Advisory Committee to convene a working group
  to undertake a thorough review of the Department of Justice’s policies, practices, and training related to criminal case management and discovery and to evaluate areas for
  improvement. Members of this working group included senior level prosecutors from United States Attorneys’ Offices (USAOs) and Main Justice, Information Technology
  support personnel, and law enforcement representatives. In addition, members of the Attorney General’s Advisory Committee and the Department’s Criminal Chiefs
  Working Group reviewed and provided comments on the Working Group Report. The case management and discovery working group examined current Department of
  Justice policies, and surveyed all of the USAOs, the criminal litigating components of Main Justice, and the Department of Justice’s law enforcement agencies, as well as
  the U.S. Postal Inspection Service, to evaluate current discovery practices, case management practices, and related training, and to identify areas for improvement.

  Today, in response to some of the recommendations in the Working Group Report, I sent out a memorandum to all prosecutors that included Guidance for Prosecutors
  Regarding Criminal Discovery that prosecutors should follow to help ensure that they meet discovery obligations in future cases. This guidance is not intended to establish
  new disclosure obligations. Those obligations are already set forth in Fed.R.Crim.P. 16 and 26.2, Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S.
  150 (1972), and 18 U.S.C. §3500 (the Jencks Act). In addition, Department policy provides for broader disclosures of exculpatory and impeachment information than
  Bradyand Gigliorequire. SeeUSAM §9-5.001. Prosecutors in every district and component must comply with legal requirements and with Department policy. Moreover,
  there are times when providing discovery broader than that provided for even by current Department policy serves the interests of justice. Providing broad and early
  discovery often promotes the truth-seeking mission of the Department and fosters a speedy resolution of a case. On the other hand, there are times when countervailing
  considerations counsel against broad and early disclosure. For these reasons, the discovery guidance is intended to assure that prosecutors make considered decisions
  about whether to disclose information beyond the requirements of law and policy and when to disclose it.

  The Working Group Report recognized that some local variation in discovery practices is inevitable. Inconsistent discovery practices among prosecutors within the same
  office, however, can lead to burdensome litigation over the appropriate scope and timing of disclosures, judicial frustration and confusion, and disparate discovery
  disclosures to a defendant based solely on the identity of the prosecutor who happens to have been assigned a case. In many instances, the discovery guidance directs that
  prosecutors be familiar with circuit and district court precedent and the local rules of the district in which they practice.

  In order to assist prosecutors maintain this familiarity and to establish uniform criminal discovery practices within the same office, I am today directing the USAOs and
  each Department litigating component handling criminal matters to develop a discovery policy that reflects circuit and district court precedent and local rules and
  practices.

  This directive requires each office to establish a discovery policy with which prosecutors in that office must comply. The policy should also provide that specific, case-
  related considerations may warrant a departure from the uniform discovery practices of the office. Because it is expected that such considerations will sometimes justify a
  departure from the particular office practice, your policy must set forth procedures prosecutors are required to follow to obtain supervisory approval to depart from the
  uniform practices in an appropriate case.

  Although the format is left to your discretion, the policy should address recurring issues such as: the timing of disclosures; disclosure of reports of interview for testifying or
  non-testifying witnesses; providing disclosure beyond the requirements of Fed.R.Crim.P 16 and 26.2, Brady, Giglio, the Jencks Act, and USAM §9-5.001; the scope of the
  “prosecution team” in national security cases 1or cases involving regulatory agencies, parallel proceedings, or task force investigations; storing and reviewing substantive,
  case-related communications such as email; obtaining Giglioinformation from local law enforcement officers; disclosure questions related to trial preparation witness
  interviews; disclosure of agent notes; and maintaining a record of disclosures. I encourage you to seek input from investigative agencies regarding these issues as well.

  The Criminal Discovery and Case Management Survey conducted as part of the Working Group’s efforts showed that 90% of USAOs currently have standardized discovery
  policies or practices, so in many offices this directive requires only that you re-visit or formalize your current policy and revise as necessary to make sure that your policy
  reflects law and practice and addresses, to the extent appropriate, the issues set forth above.

  The Working Group survey showed that 52% of the litigating components reported having standardized discovery policies or practices. I recognize that the litigating
  components that practice in multiple districts cannot develop a practice to reflect the local rules and practices of each district. Each litigating component should
  nonetheless develop a policy that guides the discovery practice of the component, understanding that litigating component prosecutors should examine–and in appropriate
  circumstances defer to–local policy when litigating in a particular district. Component policies should also address as appropriate the topics set forth above.

  I encourage you to create or modify your policy as soon as possible, but in any event you are directed to have a revised or new policy in place no later than March 31, 2010,
  and to provide a copy to the Office of the Associate Attorney General and the Office of the Deputy Attorney General. USAOs should also provide a copy to the Executive
  Office for United States Attorneys.

  I am confident that this effort along with the other steps being taken in response to the Working Group report will facilitate discovery practices that comply with our legal
  obligations and enhance our ability to achieve justice in every case. Thank you very much for your cooperation in this effort.




  1The Department will be issuing additional guidance on this issue by separate memorandum.




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                                                        MEMORANDUM FOR DEPARTMENT PROSECUTORS
                                                                              Monday, January 4, 2010


  FROM:       David W. Ogden
              Deputy Attorney General
  SUBJECT: Guidance for Prosecutors Regarding Criminal Discovery


  The discovery obligations of federal prosecutors are generally established by Federal Rules of Criminal Procedure 16 and 26.2, 18 U.S.C. §3500 (the Jencks Act), Brady v.
  Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972). In addition, the United States Attorney’s Manual describes the Department’s policy for
  disclosure of exculpatory and impeachment information. SeeUSAM §9-5.001. In order to meet discovery obligations in a given case, Federal prosecutors must be familiar
  with these authorities and with the judicial interpretations and local rules that discuss or address the application of these authorities to particular facts. In addition, it is
  important for prosecutors to consider thoroughly how to meet their discovery obligations in each case. Toward that end, the Department has adopted the guidance for
  prosecutors regarding criminal discovery set forth below. The guidance is intended to establish a methodical approach to consideration of discovery obligations that
  prosecutors should follow in every case to avoid lapses that can result in consequences adverse to the Department’s pursuit of justice. The guidance is subject to legal
  precedent, court orders, and local rules. It provides prospective guidance only and is not intended to have the force of law or to create or confer any rights, privileges, or
  benefits. See United States v. Caceres, 440 U.S. 741 (1979).

  The discovery obligations of federal prosecutors are generally established by Federal Rules of Criminal Procedure 16 and 26.2, 18 U.S.C. §3500 (the Jencks Act), Brady v.
  Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972). In addition, the United States Attorney’s Manual describes the Department’s policy for
  disclosure of exculpatory and impeachment information. See USAM §9-5.001. In order to meet discovery obligations in a given case, Federal prosecutors must be familiar
  with these authorities and with the judicial interpretations and local rules that discuss or address the application of these authorities to particular facts. In addition, it is
  important for prosecutors to consider thoroughly how to meet their discovery obligations in each case. Toward that end, the Department has adopted the guidance for
  prosecutors regarding criminal discovery set forth below. The guidance is intended to establish a methodical approach to consideration of discovery obligations that
  prosecutors should follow in every case to avoid lapses that can result in consequences adverse to the Department’s pursuit of justice. The guidance is subject to legal
  precedent, court orders, and local rules. It provides prospective guidance only and is not intended to have the force of law or to create or confer any rights, privileges, or
  benefits. See United States v. Caceres, 440 U.S. 741 (1979).

  By following the steps described below and being familiar with laws and policies regarding discovery obligations, prosecutors are more likely to meet all legal requirements,
  to make considered decisions about disclosures in a particular case, and to achieve a just result in every case. Prosecutors are reminded to consult with the designated
  criminal discovery coordinator in their office when they have questions about the scope of their discovery obligations. Rules of Professional Conduct in most jurisdictions
  also impose ethical obligations on prosecutors regarding discovery in criminal cases. Prosecutors are also reminded to contact the Professional Responsibility Advisory
  Office when they have questions about those or any other ethical responsibilities.

  Department of Justice Guidance for Prosecutors Regarding Criminal Discovery


  Step 1: Gathering and Reviewing Discoverable Information 1

  A. Where to look–The Prosecution Team

  Department policy states:

  It is the obligation of federal prosecutors, in preparing for trial, to seek all exculpatory and impeachment information from all members of the prosecution team. Members
  of the prosecution team include federal, state, and local law enforcement officers and other government officials participating in the investigation and prosecution of the
  criminal case against the defendant.

  USAM §9-5.001. This search duty also extends to information prosecutors are required to disclose under Federal Rules of Criminal Procedure 16 and 26.2 and the Jencks
  Act.

  In most cases, “the prosecution team” will include the agents and law enforcement officers within the relevant district working on the case. In multi-district investigations,
  investigations that include both Assistant United States Attorneys and prosecutors from a Department litigating component or other United States Attorney’s Office
  (USAO), and parallel criminal and civil proceedings, this definition will necessarily be adjusted to fit the circumstances. In addition, in complex cases that involve parallel
  proceedings with regulatory agencies (SEC, FDIC, EPA, etc.), or other non-criminal investigative or intelligence agencies, the prosecutor should consider whether the
  relationship with the other agency is close enough to make it part of the prosecution team for discovery purposes.

  Some factors to be considered in determining whether to review potentially discoverable information from another federal agency include:

  Whether the prosecutor and the agency conducted a joint investigation or shared resources related to investigating the case;
  Whether the agency played an active role in the prosecution, including conducting arrests or searches, interviewing witnesses, developing prosecutorial strategy,
  participating in targeting discussions, or otherwise acting as part of the prosecution team;
  Whether the prosecutor knows of and has access to discoverable information held by the agency;
  Whether the prosecutor has obtained other information and/or evidence from the agency;
  The degree to which information gathered by the prosecutor has been shared with the agency;
  Whether a member of an agency has been made a Special Assistant United States Attorney;
  The degree to which decisions have been made jointly regarding civil, criminal, or administrative charges; and
  The degree to which the interests of the parties in parallel proceedings diverge such that information gathered by one party is not relevant to the other party.

  Many cases arise out of investigations conducted by multi-agency task forces or otherwise involving state law enforcement agencies. In such cases, prosecutors should
  consider (1) whether state or local agents are working on behalf of the prosecutor or are under the prosecutor’s control; (2) the extent to which state and federal




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  governments are part of a team, are participating in a joint investigation, or are sharing resources; and (3) whether the prosecutor has ready access to the evidence. Courts
  will generally evaluate the role of a state or local law enforcement agency on a case-by-case basis. Therefore, prosecutors should make sure they understand the law in their
  circuit and their office’s practice regarding discovery in cases in which a state or local agency participated in the investigation or on a task force that conducted the
  investigation.

  Prosecutors are encouraged to err on the side of inclusiveness when identifying the members of the prosecution team for discovery purposes. Carefully considered efforts to
  locate discoverable information are more likely to avoid future litigation over Brady and Giglioissues and avoid surprises at trial.

  Although the considerations set forth above generally apply in the context of national security investigations and prosecutions, special complexities arise in that context.
  Accordingly, the Department expects to issue additional guidance for such cases. Prosecutors should begin considering potential discovery obligations early in an
  investigation that has national security implications and should also carefully evaluate their discovery obligations prior to filing charges. This evaluation should consider
  circuit and district precedent and include consultation with national security experts in their own offices and in the National Security Division.

  B. What to Review

  To ensure that all discovery is disclosed on a timely basis, generally all potentially discoverable material within the custody or control of the prosecution team should be
  reviewed 2. The review process should cover the following areas:

  1. The Investigative Agency’s Files: With respect to Department of Justice law enforcement agencies, with limited exceptions 3 , the prosecutor should be granted access to
  the substantive case file and any other file or document the prosecutor has reason to believe may contain discoverable information related to the matter being prosecuted.
  Therefore, the prosecutor can personally review the file or documents or may choose to request production of potentially discoverable materials from the case agents. With
  respect to outside agencies, the prosecutor should request access to files and/or production of all potentially discoverable material. The investigative agency’s entire
  investigative file, including documents such as FBI Electronic Communications (ECs), inserts, emails, etc. should be reviewed for discoverable information. If such
  information is contained in a document that the agency deems to be an “internal” document such as an email, an insert, an administrative document, or an EC, it may not
  be necessary to produce the internal document, but it will be necessary to produce all of the discoverable information contained in it. Prosecutors should also discuss with
  the investigative agency whether files from other investigations or non-investigative files such as confidential source files might contain discoverable information. Those
  additional files or relevant portions thereof should also be reviewed as necessary.

  2. Confidential Informant (CI)/Witness (CW)/Human Source (CHS)/Source (CS) Files: The credibility of cooperating witnesses or informants will always be at issue if they
  testify during a trial. Therefore, prosecutors are entitled to access to the agency file for each testifying CI, CW, CHS, or CS. Those files should be reviewed for discoverable
  information and copies made of relevant portions for discovery purposes. The entire informant/source file, not just the portion relating to the current case, including all
  proffer, immunity and other agreements, validation assessments, payment information, and other potential witness impeachment information should be included within
  this review.

  If a prosecutor believes that the circumstances of the case warrant review of a non-testifying source’s file, the prosecutor should follow the agency’s procedures for
  requesting the review of such a file.

  Prosecutors should take steps to protect the non-discoverable, sensitive information found within a CI, CW, CHS, or CS file. Further, prosecutors should consider whether
  discovery obligations arising from the review of CI, CW, CHS, and CS files may be fully discharged while better protecting government or witness interests such as security
  or privacy via a summary letter to defense counsel rather than producing the record in its entirety.

  Prosecutors must always be mindful of security issues that may arise with respect to disclosures from confidential source files. Prior to disclosure, prosecutors should
  consult with the investigative agency to evaluate any such risks and to develop a strategy for addressing those risks or minimizing them as much as possible, consistent with
  discovery obligations.

  3. Evidence and Information Gathered During the Investigation: Generally, all evidence and information gathered during the investigation should be reviewed, including
  anything obtained during searches or via subpoenas, etc. As discussed more fully below in Step 2, in cases involving a large volume of potentially discoverable information,
  prosecutors may discharge their disclosure obligations by choosing to make the voluminous information available to the defense.

  4. Documents or Evidence Gathered by Civil Attorneys and/or Regulatory Agency in Parallel Civil Investigations: If a prosecutor has determined that a regulatory agency
  such as the SEC is a member of the prosecution team for purposes of defining discovery obligations, that agency’s files should be reviewed. Of course, if a regulatory agency
  is not part of the prosecution team but is conducting an administrative investigation or proceeding involving the same subject matter as a criminal investigation,
  prosecutors may very well want to ensure that those files are reviewed not only to locate discoverable information but to locate inculpatory information that may advance
  the criminal case. Where there is an ongoing parallel civil proceeding in which Department civil attorneys are participating, such as a qui tam case, the civil case files
  should also be reviewed.

  5. Substantive Case-Related Communications: “Substantive” case-related communications may contain discoverable information. Those communications that contain
  discoverable information should be maintained in the case file or otherwise preserved in a manner that associates them with the case or investigation. “Substantive” case-
  related communications are most likely to occur (1) among prosecutors and/or agents, (2) between prosecutors and/or agents and witnesses and/or victims, and (3)
  between victim-witness coordinators and witnesses and/or victims. Such communications may be memorialized in emails, memoranda, or notes. “Substantive”
  communications include factual reports about investigative activity, factual discussions of the relative merits of evidence, factual information obtained during interviews or
  interactions with witnesses/victims, and factual issues relating to credibility. Communications involving case impressions or investigative or prosecutive strategies without
  more would not ordinarily be considered discoverable, but substantive case-related communications should be reviewed carefully to determine whether all or part of a
  communication (or the information contained therein) should be disclosed.

  Prosecutors should also remember that with few exceptions ( see, e.g., Fed.R.Crim.P. 16(a)(1)(B)(ii)), the format of the information does not determine whether it is
  discoverable. For example, material exculpatory information that the prosecutor receives during a conversation with an agent or a witness is no less discoverable than if
  that same information were contained in an email. When the discoverable information contained in an email or other communication is fully memorialized elsewhere, such
  as in a report of interview or other document(s), then the disclosure of the report of interview or other document(s) will ordinarily satisfy the disclosure obligation.

  6. Potential GiglioInformation Relating to Law Enforcement Witnesses : Prosecutors should have candid conversations with the federal agents with whom they work
  regarding any potential Giglioissues, and they should follow the procedure established in USAM §9-5.100 whenever necessary before calling the law enforcement employee
  as a witness. Prosecutors should be familiar with circuit and district court precedent and local practice regarding obtaining Giglioinformation from state and local law
  enforcement officers.




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  7. Potential GiglioInformation Relating to Non-Law Enforcement Witnesses and Fed.R.Evid. 806 Declarants : All potential Giglioinformation known by or in the
  possession of the prosecution team relating to non-law enforcement witnesses should be gathered and reviewed. That information includes, but is not limited to:

  Prior inconsistent statements (possibly including inconsistent attorney proffers, see United States v. Triumph Capital Group, 544 F.3d 149 (2d Cir. 2008))
  Statements or reports reflecting witness statement variations (see below)
  Benefits provided to witnesses including:
  Dropped or reduced charges
  Immunity
  Expectations of downward departures or motions for reduction of sentence
  Assistance in a state or local criminal proceeding
  Considerations regarding forfeiture of assets
  Stays of deportation or other immigration status considerations
  S-Visas
  Monetary benefits
  Non-prosecution agreements
  Letters to other law enforcement officials ( e.g.state prosecutors, parole boards) setting forth the extent of a witness’s assistance or making substantive recommendations
  on the witness’s behalf
  Relocation assistance
  Consideration or benefits to culpable or at risk third-parties
  Other known conditions that could affect the witness’s bias such as:
  Animosity toward defendant
  Animosity toward a group of which the defendant is a member or with which the defendant is affiliated
  Relationship with victim
  Known but uncharged criminal conduct (that may provide an incentive to curry favor with a prosecutor)
  Prior acts under Fed.R.Evid. 608
  Prior convictions under Fed.R.Evid. 609
  Known substance abuse or mental health issues or other issues that could affect the witness’s ability to perceive and recall events


  8. Information Obtained in Witness Interviews: Although not required by law, generally speaking, witness interviews 5should be memorialized by the agent 6. Agent and
  prosecutor notes and original recordings should be preserved, and prosecutors should confirm with agents that substantive interviews should be memorialized. When a
  prosecutor participates in an interview with an investigative agent, the prosecutor and agent should discuss note-taking responsibilities and memorialization before the
  interview begins (unless the prosecutor and the agent have established an understanding through prior course of dealing). Whenever possible, prosecutors should not
  conduct an interview without an agent present to avoid the risk of making themselves a witness to a statement and being disqualified from handling the case if the
  statement becomes an issue. If exigent circumstances make it impossible to secure the presence of an agent during an interview, prosecutors should try to have another
  office employee present. Interview memoranda of witnesses expected to testify, and of individuals who provided relevant information but are not expected to testify, should
  be reviewed.

  a. Witness Statement Variations and the Duty to Disclose: Some witnesses’ statements will vary during the course of an interview or investigation. For example, they may
  initially deny involvement in criminal activity, and the information they provide may broaden or change considerably over the course of time, especially if there are a series
  of debriefings that occur over several days or weeks. Material variances in a witness’s statements should be memorialized, even if they are within the same interview, and
  they should be provided to the defense as Giglioinformation.

  b. Trial Preparation Meetings with Witnesses: Trial preparation meetings with witnesses generally need not be memorialized. However, prosecutors should be particularly
  attuned to new or inconsistent information disclosed by the witness during a pre-trial witness preparation session. New information that is exculpatory or impeachment
  information should be disclosed consistent with the provisions of USAM §9-5.001 even if the information is first disclosed in a witness preparation session. Similarly, if the
  new information represents a variance from the witness’s prior statements, prosecutors should consider whether memorialization and disclosure is necessary consistent
  with the provisions of subparagraph (a) above.

  c. Agent Notes: Agent notes should be reviewed if there is a reason to believe that the notes are materially different from the memorandum, if a written memorandum was
  not prepared, if the precise words used by the witness are significant, or if the witness disputes the agent’s account of the interview. Prosecutors should pay particular
  attention to agent notes generated during an interview of the defendant or an individual whose statement may be attributed to a corporate defendant. Such notes may
  contain information that must be disclosed pursuant to Fed.R.Crim.P. 16(a)(1)(A)-(C) or may themselves be discoverable under Fed.R.Crim.P. 16(a)(1)(B). See, e.g., United
  States v. Clark,
  385 F.3d 609, 619-20 (6th Cir. 2004) and United States v. Vallee, 380 F.Supp.2d 11, 12-14
  (D. Mass. 2005).

  Step 2: Conducting the Review

  Having gathered the information described above, prosecutors must ensure that the material is reviewed to identify discoverable information. It would be preferable if
  prosecutors could review the information themselves in every case, but such review is not always feasible or necessary. The prosecutor is ultimately responsible for
  compliance with discovery obligations. Accordingly, the prosecutor should develop a process for review of pertinent information to ensure that discoverable information is
  identified. Because the responsibility for compliance with discovery obligations rests with the prosecutor, the prosecutor’s decision about how to conduct this review is
  controlling. This process may involve agents, paralegals, agency counsel, and computerized searches. Although prosecutors may delegate the process and set forth criteria
  for identifying potentiallydiscoverable information, prosecutors should not delegate the disclosure determination itself. In cases involving voluminous evidence obtained
  from third parties, prosecutors should consider providing defense access to the voluminous documents to avoid the possibility that a well-intentioned review process
  nonetheless fails to identify material discoverable evidence. Such broad disclosure may not be feasible in national security cases involving classified information.

  Step 3: Making the Disclosures

  The Department’s disclosure obligations are generally set forth in Fed.R.Crim.P. 16 and 26.2, 18 U.S.C. §3500 (the Jencks Act), Brady, and Giglio(collectively referred to
  herein as “discovery obligations”). Prosecutors must familiarize themselves with each of these provisions and controlling case law that interprets these provisions. In
  addition, prosecutors should be aware that Section 9-5.001 details the Department’s policy regarding the disclosure of exculpatory and impeachment information and
  provides for broader disclosures than required by Bradyand Giglio. Prosecutors are also encouraged to provide discovery broader and more comprehensive than the
  discovery obligations. If a prosecutor chooses this course, the defense should be advised that the prosecutor is electing to produce discovery beyond what is required under




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  the circumstances of the case but is not committing to any discovery obligation beyond the discovery obligations set forth above.

  A. Considerations Regarding the Scope and Timing of the Disclosures: Providing broad and early discovery often promotes the truth-seeking mission of the Department
  and fosters a speedy resolution of many cases. It also provides a margin of error in case the prosecutor’s good faith determination of the scope of appropriate discovery is in
  error. Prosecutors are encouraged to provide broad and early discovery consistent with any countervailing considerations. But when considering providing discovery
  beyond that required by the discovery obligations or providing discovery sooner than required, prosecutors should always consider any appropriate countervailing
  concerns in the particular case, including, but not limited to: protecting victims and witnesses from harassment or intimidation; protecting the privacy interests of
  witnesses; protecting privileged information; protecting the integrity of ongoing investigations; protecting the trial from efforts at obstruction; protecting national security
  interests; investigative agency concerns; enhancing the likelihood of receiving reciprocal discovery by defendants; any applicable legal or evidentiary privileges; and other
  strategic considerations that enhance the likelihood of achieving a just result in a particular case. In most jurisdictions, reports of interview (ROIs) of testifying witnesses
  are not considered Jencks material unless the report reflects the statement of the witness substantially verbatim or the witness has adopted it. The Working Group
  determined that practices differ among the USAOs and the components regarding disclosure of ROIs of testifying witnesses. Prosecutors should be familiar with and
  comply with the practice of their offices.

  Prosecutors should never describe the discovery being provided as “open file.” Even if the prosecutor intends to provide expansive discovery, it is always possible that
  something will be inadvertently omitted from production and the prosecutor will then have unintentionally misrepresented the scope of materials provided. Furthermore,
  because the concept of the “file” is imprecise, such a representation exposes the prosecutor to broader disclosure requirements than intended or to sanction for failure to
  disclose documents, e.g.agent notes or internal memos, that the court may deem to have been part of the “file.”

  When the disclosure obligations are not clear or when the considerations above conflict with the discovery obligations, prosecutors may seek a protective order from the
  court addressing the scope, timing, and form of disclosures.

  B. Timing: Exculpatory information, regardless of whether the information is memorialized, must be disclosed to the defendant reasonably promptly after discovery.
  Impeachment information, which depends on the prosecutor’s decision on who is or may be called as a government witness, will typically be disclosed at a reasonable time
  before trial to allow the trial to proceed efficiently. SeeUSAM §9-5.001. Section 9-5.001 also notes, however, that witness security, national security, or other issues may
  require that disclosures of impeachment information be made at a time and in a manner consistent with the policy embodied in the Jencks Act. Prosecutors should be
  attentive to controlling law in their circuit and district governing disclosure obligations at various stages of litigation, such as pre-trial hearings, guilty pleas, and
  sentencing.

  Prosecutors should consult the local discovery rules for the district in which a case has been indicted. Many districts have broad, automatic discovery rules that require
  Rule 16 materials to be produced without a request by the defendant and within a specified time frame, unless a court order has been entered delaying discovery, as is
  common in complex cases. Prosecutors must comply with these local rules, applicable case law, and any final court order regarding discovery. In the absence of guidance
  from such local rules or court orders, prosecutors should consider making Rule 16 materials available as soon as is reasonably practical but must make disclosure no later
  than a reasonable time before trial. In deciding when and in what format to provide discovery, prosecutors should always consider security concerns and the other factors
  set forth in subparagraph (A) above. Prosecutors should also ensure that they disclose Fed.R.Crim.P. 16(a)(1)(E) materials in a manner that triggers the reciprocal
  discovery obligations in Fed.R.Crim.P. 16(b)(1).

  Discovery obligations are continuing, and prosecutors should always be alert to developments occurring up to and through trial of the case that may impact their discovery
  obligations and require disclosure of information that was previously not disclosed.

  C. Form of Disclosure: There may be instances when it is not advisable to turn over discoverable information in its original form, such as when the disclosure would create
  security concerns or when such information is contained in attorney notes, internal agency documents, confidential source documents, Suspicious Activity Reports, etc. If
  discoverable information is not provided in its original form and is instead provided in a letter to defense counsel, including particular language, where pertinent,
  prosecutors should take great care to ensure that the full scope of pertinent information is provided to the defendant.

  Step 4: Making a Record

  One of the most important steps in the discovery process is keeping good records regarding disclosures. Prosecutors should make a record of when and how information is
  disclosed or otherwise made available. While discovery matters are often the subject of litigation in criminal cases, keeping a record of the disclosures confines the
  litigation to substantive matters and avoids time-consuming disputes about what was disclosed. These records can also be critical when responding to petitions for post-
  conviction relief, which are often filed long after the trial of the case. Keeping accurate records of the evidence disclosed is no less important than the other steps discussed
  above, and poor records can negate all of the work that went into taking the first three steps.

                                                                                    Conclusion

  Compliance with discovery obligations is important for a number of reasons. First and foremost, however, such compliance will facilitate a fair and just result in every case,
  which is the Department’s singular goal in pursuing a criminal prosecution. This guidance does not and could not answer every discovery question because those
  obligations are often fact specific. However, prosecutors have at their disposal an array of resources intended to assist them in evaluating their discovery obligations
  including supervisors, discovery coordinators in each office, the Professional Responsibility Advisory Office, and online resources available on the Department’s intranet
  website, not to mention the experienced career prosecutors throughout the Department. And, additional resources are being developed through efforts that will be
  overseen by a full-time discovery expert who will be detailed to Washington from the field. By evaluating discovery obligations pursuant to the methodical and thoughtful
  approach set forth in this guidance and taking advantage of available resources, prosecutors are more likely to meet their discovery obligations in every case and in so doing
  achieve a just and final result in every criminal prosecution. Thank you very much for your efforts to achieve those most important objectives.




  1For the purposes of this memorandum, “discovery” or “discoverable information” includes information required to be disclosed by Fed.R.Crim.P. 16 and 26.2, the Jencks

  Act, Brady, and Giglio, and additional information disclosable pursuant to USAM §9-5.001.

  2How to conduct the review is discussed below.


  3Exceptions to a prosecutor’s access to Department law enforcement agencies’ files are documented in agency policy, and may include, for example, access to a non-

  testifying source’s files.




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  4Nothing in this guidance alters the Department’s Policy Regarding the Disclosure to Prosecutors of Potential Impeachment Information Concerning Law Enforcement
  Agency Witnesses contained in USAM §9-5.100.

  5“Interview” as used herein refers to a formal question and answer session with a potential witness conducted for the purpose of obtaining information pertinent to a
  matter or case. It does not include conversations with a potential witness for the purpose of scheduling or attending to other ministerial matters. Potential witnesses may
  provide substantive information outside of a formal interview, however. Substantive, case-related communications are addressed above.

  6In those instances in which an interview was audio or video recorded, further memorialization will generally not be necessary.




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                        EXHIBIT D




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                                                                                 CRM GOEKE 087276


From:              Goeke, James (USAAK)
To:                Sullivan, Edward; Marsh, Nicholas; Kepner, Mary Beth (FBI);
                   Joy, Chad E. (FBI); Bottini, Joe (USAAK); Morris, Brenda;
Subject:           Persons GJ Brady review
Date:              Monday, September 08, 2008 11:00:49 AM

Here is the results of the Brady review of Persons GJ. I’m trying to be overly
inclusive, so I know much of this stuff does not rise to Brady in the normal course:

        • With regard to airline charters by VECO/Bill Allen, Persons says TS asked
        for an invoice. This relates to the NM charter TS reimbursed VECO for (Vol I,
        p. 25/26);
        • Persons stated the pre-remodel chalet was falling down (Vol I, p. 30);
        • Persons stated TS said none of this would have happened if Bill had
        done what TS asked, which was for instance simply get Christmas lights and
        put them up, not all these rope lights TS and CAS hate and don’t know how
        to use and can’t get down. Also TS asked Bill to get a generator, hook up,
        and get him a bill (Vol I p. 40);
        • Persons stated doesn’t know if generator worked, hopes Bill sent TS
        and invoice (Vol I, p. 40);
        • Re rope lights again, CAS can’t turn on, Persons doesn’t think they were
        ever on, CAS doesn’t like Allen, and didn’t like Allen putting lights all over
        house and tree (Vol I p. 44);
        • TS and BP would have stopped Allen putting up lights; doesn’t think TS
        there when installed; sure CAS wasn’t there (Vol I, p. 45);
        • TS didn’t know until recently that someone from VECO put up lights
        (Vol I, p. 45);
        • TS suspected VECO put up lights (Vol I, p. 47);
        • VECO left tool chest at Chalet, TS asked them to come get tools (Vol I, p.
        49);
        • TS won’t accept comp meals at Double Musky (Vol I, p. 60);
        • BP told TS house was falling apart, paint peeling, gutters falling, metal
        supports rusting (Vol I, p. 64);
        • Roof was badly designed (Vol I, p. 66);
        • Sheet rock in garage cracked from snow/ice falling off roof to garage
        (Vol I, p.68);
        • Dave Anderson was the reason initial framing for remodel under lifted
        house screwed up; Dave bad about drinking all the time (Vol I, p. 86);
        • Dave liked to sit in truck and drink whiskey (Vol I, p. 92);
        • BP would think TS paying for Rocky, Dave, Bill Allen (Vol I, p. 92);
        • CAS said she was taking a mortgage to pay for remodel (Vol I, p. 92);
        • Dave drank too much (Vol I, p. 95);

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        • Framing by Dave, Rocky, others bad, house lifter refused to set down
        house (Vol I, p. 97);
        • Strange relationship intermingled there between Mark Tyree, his very
        young daughter, and Bill Allen “and stuff [Persons] don’t want to get into”)
        (Vol I, p. 119);
        • Persons wrote in email to TS that he was worried that Dave and Rocky
        or Bill lied to FBI (Vol I, p. 136);
        • TS concerned about Dave telling lies after Dave had a falling out with
        Bill over Bill’s girlfriend (Vol I, p. 138);
        • BP thinks everybody that worked on house got paid and CAS paid them
        (Vol I, p. 139);
        • Work was not a $140k job (Vol I, p. 140);
        • Augie told BP that Bill Allent told him he had to eat last invoice on
        house, but CAS cut him a check for last payment (Vol I, p. 141);
        • Augie said took forever to get last money out of Bill (Vol I, p. 142);
        • Bill didn’t want TS to pay labor on Chugach sewer bill (Vol II, p. 17);
        • CAS/TS didn’t want the lights, didn’t want them in the tree (Vol II, p. 25-
        26);
        • BP told that Roger Chan’s and Pete Leathard’s view of what happened
        at VECO different than Allen’s (Vol II, p. 29);
        • Old school means you don’t tell lies about people and don’t hurt your
        friends; BP and TS are old school, implied Allen not (Vol II, p. 51);
        • All of Paone’s invoices went to VECO for review (Vol II, p. 87).


JAMES A. GOEKE
Assistant U.S. Attorney
District of Alaska

(907) 271-3387




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                        EXHIBIT E




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From:             Goeke, James (USAAK)
To:               Marsh, Nicholas; Bottini, Joe (USAAK); Sullivan, Edward; Morris, Brenda;
                  Welch, William;
Subject:          RE: Revised Brady/Giglio letter
Date:             Tuesday, September 09, 2008 3:33:55 AM

Nick, here’s an overly expansive, blunt first cut on Paone to add:

On November 8, 2006, Augie Paone testified.


                   1.       Paone testified that all invoices for the remodel of
                   the defendant’s home went to Robert Williams or Dave
                   Anderson and VECO.
                   2.       Paone testified that Allen, Paone, and Williams all
                   had input on how billing would be done with regard to the
                   remodel of the defendant’s home.
                   3.       Paone testified that he would submit bills to Allen
                   and/or VECO for review and that they would then be sent
                   on to Catherine Stevens and that he did not send any bills
                   directly to the Stevenses unless Allen or Williams
                   confirmed the billing was correct.
                   4.       Paone testified that he had a great deal of
                   admiration for the defendant and what he was doing for
                   Alaska.
                   5.       Paone recalled sending one invoice directly to
                   Catherine Stevens.
                   6.       Paone testified that hopefully the electricians and
                   plumbers working on the renovation were being paid by
                   the defendant because he did not pay them.
                   7.       Paone testified that the last invoice he produced
                   for the remodel went to Dave Anderson.
                   8.       Paone testified that he estimated the value of the
                   electrical and plumbing work at the remodel to $10,000-
                   $15,000 for each type of work and that he did not bill for
                   that work.
                   9.       Paone testified that while he was never paid by the
                   defendant for the last work he performed at the remodel of
                   the defendant’s home, Paone believed the defendant never

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                                                              CRM GOEKE 087462



  received the last bill for work during the renovation.
  10.       Paone testified that Dave Anderson suggested that
  Paone may just have to not get paid for the last invoice
  related to the remodel of the defendant’s home.
  11.       Paone testified that he met with Allen to discuss
  payment for Paone’s last invoice related to the remodel of
  the defendant’s home and that Allen said he would
  eventually take care of the issue.
  12.       Paone testified that someone at VECO must have
  ultimately decided to put outstanding costs related to the
  remodel of the defendant’s home into invoices for Allen’s
  own home remodel.
  13.       Paone testified that he received payment for the
  outstanding costs from the remodel of the defendant’s
  home after billing those costs through Allen’s home
  remodel months later.
  14.       Paone testified that Allen’s speech was impacted
  by his motorcycle accident and he did not know how else it
  affected Allen’s brain.
  15.       Paone wondered why the last outstanding invoice
  for approximately $13,000 was not simply sent to the
  defendant because Paone believed the defendant would
  pay the invoice.
  16.       Paone stated his opinion was that the defendant
  might have mentioned to his friends a year or so before the
  remodel that he wanted to remodel his house and that he
  was going to spend $100,000 or $150,000 and Allen said
  he would run the project and make sure it did not cost over
  a certain amount. Paone further speculated that then the
  project cost more than Allen promised the defendant it
  would cost and then there was a con. Paone further
  speculated that he believed Allen may not have wanted to
  tell the defendant.
  17.       Paone testified that he finally came to a conclusion
  that he would not get paid for a portion of his outstanding
  invoice related to the remodel of the defendant’s home and
  that he wanted to keep good records because he was
  concerned about what accusations might follow about the

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  work he did on the defendant’s home.
  18.      Paone testified that he has a great deal of
  admiration for the defendant and that he felt everyone
  loves the defendant.
  19.      Paone testified that he was comfortable with the
  way billing was handled for the remodel of the defendant’s
  home until he could not understand why he was not being
  paid for the last invoice.
  20.      Paone testified that the decision to have Paone’s
  last invoice and additional work at the defendant’s home
  billed and paid through Allen’s remodel of his home was
  attributable to Dave Anderson and that Williams and
  Anderson were really big alcoholics.
  21.      Paone testified that he did not want to make a
  $13,000 contribution to anyone.
  22.      Paone testified that Williams was drinking a lot
  and that he could smell alcohol on his breath.
  23.      Paone testified that he did what he could to make
  sure there was no harm anywhere, but noted that plumber
  and electricians were already there and the house was
  already jacked up.
  24.      Paone testified that he concentrated on record
  keeping to protect his business.
  25.      Paone testified that Allen last spoke with him
  around a year prior to his grand jury testimony concerned
  that one of Paone’s employees was speaking to the press.
  Paone said he laughed to himself, thinking that it was
  Allen who had two drunks for employees.
  26.      Paone stated that his personal opinion was that
  even though the project got out of hand, he did not
  personally think that anybody got any favors and that he
  thought the defendant paid everything that went past his
  desk and “they” were doing him wrong by trying to do him
  good. Paone added that “they” were trying to show the
  defendant respect and affection and that it was done in the
  wrong way. Paone further stated that if the defendant
  knew that he had another $50,000 bill, he would have
  figured out a wayt to pay it.

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                                                                    CRM GOEKE 087464




                   27.    Paone stated he did not have an open line to the
                   defendant.



From: Marsh, Nicholas (CRM)
Sent: Monday, September 08, 2008 4:53 PM
To: Bottini, Joe (USAAK); Goeke, James (USAAK); Sullivan, Edward (CRM); Morris,
Brenda (CRM); Welch, William (CRM)
Subject: Revised Brady/Giglio letter

Subsection 3 revised to include the Bambi Tyree stuff we discussed earlier today,
as well as a tuneup to the Bill Bittner discussion below it. I did not yet make a
cut to the listed information in Sub 1.




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                        EXHIBIT F




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                                                                          CRM BOTTINI 030581


From:            Sullivan, Edward
To:              Bottini, Joe (USAAK); Goeke, James (USAAK); Marsh, Nicholas;
                 Morris, Brenda; Welch, William; Kepner, Mary Beth (FBI);
                 Joy, Chad E. (FBI); "Roberts, Dennis"; "Bateman Larry R";
Subject:         Emailing: Romain 9-9-08 v 2 (3)
Date:            Tuesday, September 09, 2008 10:16:00 AM
Attachments:     Romain 9-9-08 v 2 (3).wpd



Current version of B/G letter attached.

The message is ready to be sent with the following file or link attachments:

Romain 9-9-08 v 2 (3)


Note: To protect against computer viruses, e-mail programs may prevent
sending or receiving certain types of file attachments. Check your e-mail
security settings to determine how attachments are handled.




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                                                                                 CRM BOTTINI 030582
                                                     U.S. Department of Justice

                                                     Criminal Division



                                                     Washington, D.C. 20530


                                                     September 8, 2008


BY ELECTRONIC MAIL

Alex G. Romain, Esq.
Williams & Connolly LLP
725 Twelfth Street, N.W.
Washington, D.C. 20005

       Re:     United States Senator Theodore F. Stevens

Dear Mr. Romain:

        As noted in several of our prior letters, and as set forth in certain of our briefs, the
government has re-reviewed agents' notes and formal memoranda and grand jury transcripts for
additional Brady/Giglio material. We have also searched for additional documents in our
possession, custody, and control concerning the prior and pending local law enforcement
investigations of potential government witness Bill Allen. The following, supplemental
information is being furnished to you in a manner consistent with our prior agreement.

1.     Potential Brady/Giglio Information Located In Grand Jury Transcripts

       a.      On December 7, 2006, David Anderson testified that he was fired from VECO,
               and that he was paid $3,800 by the FBI for lodging, food, and gas expenses.

       b.      On January 7, 2007, Derrick Awad testified he never saw defendant or his family
               at the Girdwood residence while Awad was present at the location.

       c.      On February 7, 2007, Special Agent Mary Beth Kepner testified that defendant
               had not hampered the investigation.

       d.      On November 8, 2006, Jack Billings testified it was his understanding that
               defendant was going to pay for rain gutters and a water heater that Billings had
               installed. Billings further testified he was convicted of certain drug-related
               crimes in the mid-1970s in the State of Utah. The government, thus far, has not
               located records relating to these convictions.

       e.      On February 9, 2007, Cecil Dale III testified that a flaw in the remodeling caused
               the need for the snow melt system.

       f.      On May 4, 2007, John David testified that miscoding can sometimes cause
               billings problems.

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 g.   On February 9, 2007, John Hess testified he received a letter from defendant
      asking for a bill for Hess' services. Hess further testified he informed defendant
      by letter that his time and labor was paid by VECO and defendant would have to
      address the issue with Bill Allen.

 h.   On March 9, 2007, Pat Hudgens testified he had a conversation with John Hess
      concerning a request by defendant to obtain a bill for Hess' services.

 i.   On May 6, 2007, Robin Friend testified that David Anderson has been removed
      from a job for drinking and a terrible work record.

 j.   On June 3, 2008, Justin Stiefel testified he performed consulting and polling work
      for Governor Frank Murkowski's re-election campaign. Stiefel testified he agreed
      with Rick Smith to have VECO pay a polling company for services performed by
      Stiefel and charged to polling company. Stiefel testified this was done so that
      payments would not go directly from VECO to Stiefel. Stiefel further testified he
      never received any payment from VECO or the polling company.

 k.   On June 7, 2007, Linda Carpenter testified that Catherine Stevens contacted her
      and asked for advice from KPMG regarding the best way to pay for certain
      improvements at the Girdwood residence. Carpenter testified that the Stevenses
      took out a $100,000 loan to pay for the improvements. Carpenter further testified
      that the loan was paid off, but could not recall the date.

 l.   On August 8, 2007, Larry Daniels testified that defendant asked Daniels to
      remove lights from a tree on the property, but to preserve them due to the on-
      going investigation. Daniels testified that defendant told Daniels to send him a
      bill for the removal of the lights from the tree, which Daniels did after receiving
      defendant's address in Washington, D.C. from James Helms.

 m.   On June 6, 2007, Wendy Dow testified that defendant would ask for individual
      checks when eating with a group of the people at the Double Musky Inn,
      presumably to avoid violating the Senate Rules concerning gifts. Dow further
      testified that Bill Allen would pay the entire bill, however, including defendant's
      portion.

 n.   On June 5, 2007, Charles Hart testified he performed repair work on a boiler at
      defendant's residence in Girdwood, Alaska. Hart testified he originally sent an
      invoice to VECO for the entire cost. However, he subsequently received a
      telephone call from Bill Allen who instructed Hart to split the bill in half.
      Pursuant to Allen's instructions, Hart sent VECO a bill for the labor and a bill to
      defendant for the material/parts. VECO paid the bill for labor.


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 o.   On August 7, 2007, James Helms testified that he gave Larry Daniels the address
      for defendant in Washington, D.C., in order to send a bill to defendant regarding
      the rope lighting.

 p.   On August 7, 2007, James Kaiser testified that Robert Penney asked Kaiser to
      create a stained glass picture for defendant as a housewarming gift. Jeannie
      Penney made a down-payment of $1,200 and the remaining cost was paid by
      PENCO, Alaska.

 q.   On November 8, 2006, Augie Paone testified that:

      i.      All invoices for the remodel of defendant's home went to Robert Williams
              or David Anderson and VECO.
      ii.     Allen, Paone, and Williams all had input on how billing would be done
              with regard to the remodel of defendant's home.
      iii.    He would submit bills to Allen and/or VECO for review and that they
              would then be sent on to Catherine Stevens and that he did not send any
              bills directly to the Stevenses unless Allen or Williams confirmed the
              billing was correct.
      iv.     He had a great deal of admiration for defendant and what he was doing for
              Alaska.
      v.      He recalled sending one invoice directly to Catherine Stevens.
      vi.     Hopefully the electricians and plumbers working on the renovation were
              being paid by defendant because he did not pay them.
      vii.    The last invoice he produced for the remodel went to David Anderson.
      viii.   He estimated the value of the electrical and plumbing work at the remodel
              to $10,000-$15,000 for each type of work and that he did not bill for that
              work.
      ix.     Although he was never paid by defendant for the last work he performed
              at the remodel of defendant's home, Paone believed defendant never
              received the last bill for work during the renovation.
      x.      David Anderson suggested that Paone may just have to not get paid for the
              last invoice related to the remodel of defendant's home.
      xi.     He met with Allen to discuss payment for Paone's last invoice related to
              the remodel of defendant's home and that Allen said he would eventually
              take care of the issue.
      xii.    Someone at VECO must have ultimately decided to put outstanding costs
              related to the remodel of defendant's home into invoices for Allen's own
              home remodel.
      xiii.   He received payment for the outstanding costs from the remodel of
              defendant's home after billing those costs through Allen's home remodel
              months later.
      xiv.    Allen's speech was impacted by his motorcycle accident and he did not
              know how else it affected Allen's brain.

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      xv.      He wondered why the last outstanding invoice for approximately $13,000
               was not simply sent to defendant because Paone believed defendant would
               pay the invoice.
      xvi.     He opined that defendant might have mentioned to his friends a year or so
               before the remodel that he wanted to remodel his house and that he was
               going to spend $100,000 or $150,000 and Allen said he would run the
               project and make sure it did not cost over a certain amount. Paone further
               speculated that then the project cost more than Allen promised defendant
               it would cost and then there was a con. Paone further speculated that he
               believed Allen may not have wanted to tell defendant.
      xvii.    He finally came to a conclusion that he would not get paid for a portion of
               his outstanding invoice related to the remodel of defendant's home and
               that he wanted to keep good records because he was concerned about what
               accusations might follow about the work he did on defendant's home.
      xviii.   He has a great deal of admiration for defendant and that he felt everyone
               loves defendant.
      xix.     He was comfortable with the way billing was handled for the remodel of
               defendant's home until he could not understand why he was not being paid
               for the last invoice.
      xx.      Decision to have Paone's last invoice and additional work at defendant's
               home billed and paid through Allen's remodel of his home was attributable
               to David Anderson and that Williams and Anderson were really big
               alcoholics.
      xxi.     He did not want to make a $13,000 contribution to anyone.
      xxii.    Williams was drinking a lot and that he could smell alcohol on his breath.
      xxiii.   He did what he could to make sure there was no harm anywhere, but noted
               that plumber and electricians were already there and the house was
               already jacked up.
      xxiv.    He concentrated on record keeping to protect his business.
      xxv.     Allen last spoke with him around a year prior to his grand jury testimony
               concerned that one of Paone's employees was speaking to the press. Paone
               said he laughed to himself, thinking that it was Allen who had two drunks
               for employees.
      xxvi.    His personal opinion was that even though the project got out of hand, he
               did not personally think that anybody got any favors and that he thought
               defendant paid everything that went past his desk and "they" were doing
               him wrong by trying to do him good. Paone added that "they" were trying
               to show defendant respect and affection and that it was done in the wrong
               way. Paone further stated that if defendant knew that he had another
               $50,000 bill, he would have figured out a way to pay it.
      xxvii.   He did not have an open line to defendant.

 r.   On June 6, 2007, Robert Penney testified that Bill Allen oversaw the renovations
      at the Girdwood residence as a friend of defendant, and that Allen was going to

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      help see that proper contractors were put in place. Penney further testified that
      the Stevenses sent a check to Penland Development in the amount of $10,656.98,
      which represented the Stevenses reimbursement of certain construction material
      purchased on a Penland account at Spenard Builders. Penney also testified that he
      gave a stained glass window to the Stevenses as a housewarming gift. Penney
      further testified that, although he had not heard defendant complain about work
      that was performed on the house and was not aware of defendant saying anything
      was broken or not performed well, the project, overall, should have been done
      more quickly. Penney also testified that he has never gotten a dime from
      defendant in any way.

 s.   On June 1-2, 2007, Robert Persons testified that:

      i.      With regarding to a charter flight paid by VECO, defendant asked VECO
              for an invoice.
      ii.     Prior to the renovations, the chalet was falling down.
      iii.    Defendant told Persons that none of this would have happened if Allen
              had done what defendant asked of him.
      iv.     He noted the rope lighting as an example where Allen did more than what
              defendant wanted.
      v.      Defendant asked Allen to get a generator, hook it up, and send him a bill.
              Persons testified he did not know if the generator worked, and he hoped
              Allen had sent defendant an invoice.
      vi.     Catherine Stevens did not like the rope lighting, could not figure out how
              to turn them on, Persons was not sure whether they were ever on,
              Catherine Stevens does not like Allen, and did not like Allen putting lights
              all over the house and tree.
      vii.    He and defendant would have stopped Allen putting up lights, does not
              think defendant was there when Allen installed them, and was not sure
              Catherine Stevens was present either.
      viii.   Defendant did not know until recently that someone from VECO installed
              the lights, but defendant suspected VECO installed them.
      ix.     VECO left a tool chest at the chalet and defendant asked VECO to come
              get the tools.
      x.      Defendant will not accept complimentary meals at Persons' restaurant in
              Girdwood.
      xi.     He told defendant the house was falling apart, paint peeling, gutters
              falling, metal supports rusting.
      xii.    The roof was badly designed and that sheet rock in the garage had cracked
              from snow/ice falling off roof to garage.
      xiii.   David Anderson improperly performed the initial framing for the
              renovation and that the company that jacked up the house refused to set it
              down on the framing.


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            xiv.   David Anderson drinks too much, drinks all the time, and liked sit in his
                   truck and drink whiskey.
            xv.    He assumed that defendant was paying for services provided by Robert
                   Williams, David Anderson, and Bill Allen.
            xvi. Catherine Stevens said she was taking out a mortgage to pay for the
                   remodeling.
            xvii. A strange relationship existed between Mark Tyree, his very young
                   daughter, and Bill Allen.
            xviii. He wrote in an e-mail to defendant that he was concerned that Allen,
                   Anderson, and Williams had lied to the FBI.
            xix. Defendant told Persons that defendant was concerned about Anderson
                   telling lies after Anderson had a falling out with Allen over Allen's
                   girlfriend.
            xx.    He thinks everybody that worked on house got paid and Catherine Stevens
                   paid them.
            xxi. The work performed was not worth $140,000. Persons testified that Augie
                   Paone told him that Allen told Paone that he had to eat the last invoice on
                   the house, but that Catherine Stevens cut him a check for last payment.
                   According to Persons, Paone said it took forever to get the last amount of
                   money out of Allen.
            xxii. Allen did not want defendant to pay the labor on the Chugach sewer bill;
            xxiii. Roger Chan and Pete Leathard's view of what happened at VECO was
                   different than Allen's.
            xxiv. "Old school'" means you do not tell lies about people and do not hurt your
                   friends. Persons added that he and defendant are old school.
            xxv. All of Paone's invoices went to VECO for review.

      t.    On February 13, 2008, George Walton testified he did not recall any specific
            conversations between himself and defendant in which the two discussed the
            renovations at the Girdwood Residence.

2.    Potential Brady/Giglio In Agents' Rough Notes Or Formal Memoranda

      a.    On December 14, 2006, government agents interviewed Linda Croft. Croft stated
            that after certain plumbing work had been performed at defendant's residence in
            Girdwood, Alaska, Croft saw an e-mail from defendant to Allen advising Allen
            that defendant needed to pay the plumber.

      b.    On August 31, 2006, government agents interviewed Pete Leathard. Leathard
            stated that VECO had performed small favors for defendant, but anything VECO
            or Bill Allen did for defendant (such as providing the services of an electrician at
            his residence) was reimbursed by defendant. Leathard further assumed that
            defendant reimburses everyone.


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       c.     [On September 1, 2006, government agents interviewed Robert Williams.
              Williams stated there were no formal plans for the addition at defendant's
              residence and that Williams sketched the plans for the addition based upon
              conversations with defendant. Williams also stated that, although he was the
              general contractor on the project, he did not deal with the expenses. Williams
              further stated the majority of the work on the property was completed by
              Christensen Builders, estimating that 99 percent of the work was done by
              Christensen Builders and the remaining portion performed by subcontractors.]

       d.     Need to re-write. On August 13, 2008, government agents interviewed David
              Anderson concerning an affidavit he signed on March 25, 2008. The affidavit
              discusses immunity for Anderson, friends, and family members. Anderson stated
              he signed the affidavit, the affidavit was drafted by Jerry Ward, and he felt
              pressured to sign it because of his relationship with Kirsten Deacon, the daughter
              of Jerry Ward. Anderson also stated he was not forced to sign the affidavit.
              Anderson further stated the contents of the affidavit were not completely accurate.
              Anderson stated he believed he had previously told agents he did not want Kirsten
              Deacon and her family involved with his cooperation with the government, but
              admitted he was never promised or offered immunity for himself or any other
              person. When discussing the names in the affidavit, Anderson stated that Jerry
              Ward put in all the names of people who were supposed to have received
              immunity.

              When discussing the affidavit being inaccurate, Anderson stated he believes he
              could remove the inaccurate portions to make the affidavit accurate. Anderson
              did not understand the implications of a false affidavit and how it could hurt his
              credibility.

       e.     As noted in our letter dated August 25, 2008, Bill Allen was interviewed on July
              16, 2008, concerning a target of an unrelated criminal investigation. During the
              course of that interview, Allen was not truthful concerning financial benefits
              provided to an elected state public official. The following day, Allen contacted a
              government agent and volunteered that he had not been truthful about this subject
              matter in an effort to protect a family member.

       f.     Add in MBK's review of other 302/interview notes

3.     Local Investigations Of Bill Allen

        In response to your request for additional information concerning the prior and pending
local law enforcement investigations of Allen, the federal government has located in its
possession, custody, and control, a formal memorandum and an Anchorage Police Department
("APD") report from an unrelated case that refers to Mr. Allen. [add Jim's notes?] According to
these reports, in February 2004, an adult female made allegations to the APD concerning Mr.

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Allen. The adult female alleged she had a sexual relationship with Mr. Allen while she was an
adult, but believed that Allen had a contemporaneous sexual relationship with a 15 year-old
female. (This "other female" is one of the individuals disclosed in our letter to you dated August
25, 2008.) The adult female alleged that during the course of her relationship with Allen, Allen
provided her with things of value, including money, trips, housing, and a car, as well as paying
for the adult female to attend an alcohol rehabilitation program.

        The adult female further alleged that, after her relationship with Allen ended, she was
contacted by an attorney for Allen and requested to sign a nondisclosure agreement that would
have contained, in part, a statement that she had never had a sexual relationship with Allen. The
adult female suggested that the attorney offered her $5,000 in exchange for the statement, but she
declined in part because she wanted more money.

        On September 7, 2008, Allen was interviewed concerning these allegations. Allen stated
he did have a relationship with the adult female and he did pay her rent during their relationship.
Allen advised that the adult female was a prostitute. Allen advised that after the relationship
ended, the adult female and the adult female's mother began to demand money from him and
threatened to go to the newspaper to expose their relationship. Allen stated that the adult female
also threatened to make statements concerning Allen's relationship with the "other female"
referenced above. Allen stated that the adult female demanded money in exchange for her not to
make such statements to the media. Allen refused to pay any money and considered her threats
to be blackmail and/or extortion. Allen hired a lawyer to address his belief that he was being
blackmailed. Allen denied ever offering to pay anyone money to make a false statement.

       Given the foregoing allegation from the adult female, we are also providing you with
some additional information that, as described below, is neither Brady nor Giglio. In 2007, the
government became aware of a suggestion that, a number of years ago, Allen asked the "other
female" to make a sworn, false statement concerning their relationship. After hearing that
suggestion, the government conducted a thorough investigation and was unable to find any
evidence to support it. The investigation included: (a) an inquiry to the "other female," who
denied the suggestion; (b) an inquiry to Allen, who denied the suggestion; (c) a review of notes
taken by a federal law enforcement agent during a 2004 interview of the "other female,"; and (d)
a review of notes taken by a federal prosecutor during a 2004 interview of the "other female."
[add Bambi's lawyer?] Because the government is aware of no evidence whatsoever to support
any suggestion that Allen caused the "other female" to make a false statement under oath, neither
Brady nor Giglio apply.

        Finally, we note that during debriefs with the government, Allen stated that Bill Bittner,
an attorney in Anchorage, once asked Allen to make a statement that the "other female"
referenced above had extorted him and/or blackmailed him, for the purpose of benefitting one of
Mr. Bittner's clients. Allen stated that he told Mr. Bittner that any such allegations were false and
refused to make the statement.

                                                       Very truly yours,

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                                                                   CRM BOTTINI 030590




                                      William M. Welch II, Chief


                                      Brenda K. Morris
                                      Principal Deputy Chief

                                      Nicholas A. Marsh
                                      Edward P. Sullivan
                                      Trial Attorneys

                                      Joseph W. Bottini
                                      James A. Goeke
                                      Assistant United States Attorneys




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                        EXHIBIT G




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                                                      U.S. Department of Justid

                                                      Criminal Division




                                                      September 9,2008



BY ELECTROMC MAIL

Alex G. Romain, Esq.
Williams & Connolly LLP
725 Twelfth Street, N.rW.
tffashington,   D.C.   20005

        Re:      United States Senator Theodore F. Stevens
                                                                                                l:,S- I'o
DearMr. Romain:

        As noted in several of our prior letters, and as set forth in certain of or¡¡ briefs, the
govemment has completed its review of agents'notes, formal memoranda, and grand jury
tanscripts for E¡Ady/Ciglig material. rWe have also searched for additional d'ocume,nts in ou
possession, custody, and conhol conceming the prior and pending local law enforcement
investigations ofpotential government witness Bill Allen. The following informationis being
fumished to you in a manner consistent with our prior ageement.

       Please note that the infonnation set forth in this letter and the govemment's letter d¿ted
August 25,2008,does not contain all pote,ntial impeachment material related to certain
government witnesses. As you know, the government hæ produced substantial disoovery to
ãefendant whioh may contain additional Brady/Giglio material. This discoveþ atso includes the
documents voluntarilyproduced to us by defendantprior to his indicbnent.

        Please also note that we believe that a significant portion of the information set forth
below is not Blg!¿Gigllq material. We produce this information nonetheless in the continued
spirit of compromisc and cooperation.

l.      On Dece,mber7,2006,David fuiderson stated he was fired from \¿ECO, and that he was
        paid $3,800 by the FBI for lodging, food, and ga¡¡ expenses. Anderson also admitted that
        he received approximately $30,000 from Alle,n and VECO a¡ound the time that Anderson
        was terminated ûom VECO. Although Allen has stated that the paymeirt wæ extorted by
        Anderson, Anderson stated that he believed the payment was part of a severancepackage.

2.      On November 8, 2006, Jack Billings stated it was his understanding that defe,ndant was
        going to pay the repair to the boiler system, but Billings did not see a bill go to defendant.

3.      On February g,2OO7,Cecil Dale Itr st¿ted he believed that a flaw in ttre remodeling may
        have caused the need for the snow melt s¡rstem.
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4.       On May 4,2007,John David st¿ted that miscoding can sometimes cause billing
         problems.

5.       On May 6,2OO7,Robin Frieud stated that David fuiderson has been re,moved from       a   job
         for drinking and a terrible work record.

         On June 3, 2008, Justin Stiefel stated he perforrred consulting and polling wodc for
         Governor Frank Mrukowski's re-election campaign. Stiefel stated he agreed with Rick
         Smith to have VECO pay a polling company for services performed by Stiefel and
         charged to the polling company. Stiefel stated this was done so that payments would not
         go directly from VECO to Stiefet. Stiefet fi¡rther stated he never received anypa¡urent
         from VECO or the polling company.

7.       On June 7,2OO7,Linda Carpenter stated that Catherine Steve,lrs contacted her and asked
         for advice from KPMG regarding the best way to pay for certain improveine,lrts at the
         Girdwood residence. Carpemter stated that the Stevenses took out a $100,000 loan to pay
         for certain improvements. Carpenter firther stated that the loan was paid off, but could
         not recall the date.

         On August 8,2007,Iarry Daniels stated that defe,ndant asked Danielq to remove lights
         from aiee on the propefy, but to preserve them due to the on-going investigation.
         Daniels stated thafdefendant told Daniels to send him a bill for the removal of the lights
         from the hee, which Daniels did after receiving defendanfs address in Washingtor¡ D.C.
         ûom James Helms.

 9.      On June 6,2007,Weirdi Dow stated that defendant would ask for individual checks when
         eating with a group of the people at the Double Musþ Inr¡ presumably to avoid violating
         the Sãnate Rules concenring gifrs. Oow frrthsr stated that Bill Allen.would pay the entire
         bill, however, including defendant's portion.

 10.     On June 5,2OO7,Charles Hart stated he performed repair work on a boiler at defendanfs
         reside,lrpe in Girdwood, Alaska. Hart stated he originally se,lrt an invoice to VECO for the
         entire cost. However, he subsequently received a telephone call Êom Bill Allen who
         instucted Han to split the bill in half. Ptusuant to Allen's instnrctions, Hd seirt VECO a
         bitl for the labor and a bill to deferidant for the materiaUparts. VECO paid the bill for
          labor.

 11.      On June 6,2OO7,Robert Penney stated that some consh¡ction materials for the Girdwood
          resideirce were purchased on a Pe¡rland Developme,nt account at Spe'næd Boild*
          Suppty, and that the Steve,lrses sent a check to Penland in the amount of $10,656.98.
          pñrt     fi¡rttrer stated that, although he had not heard defendant complain about work that
          was pðrformed on the house and was not aware of defendant saylng an¡hing wæ brokeir
          ot ttót performed well, the project overall should have been done more quickly. Penney
          also stated that he ha-q never gotten a dime from defendant in any way-




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      t2.      On December 14, 200ó, Linda Croft stated that after certain plumbing work hadbeen
               performed at the Gi¡dwood residence, Croft saw an e-mail from defer¡dant to Allen
               advising Allen that defendant needed to pay the plumber.

      13.      On August 31, 2006, Pete Iæathard stated that VECO had performed small favors for
               defendãnt, which Iæ¿thard believed had been rcimbursed by defelrdant. Iæathard fr¡rther
               assumed that defendant reimbr¡rses everyone.

      t4.      On May l3,z1}Z,Chris Von hnhof stated that defendant alwap paid his share of meals
               when out to dinner.

      15.      On September   l, 2006,  Robert Willia¡ns stated there were no formal plans forthe
               additiôn at defendant's residence and that Williams sketched the plans for the addition
                                                                                                he was the
               based upon conversations with defendaût. Williams also stated that, although
               generalionnactor on the project, he did not deal with the expenses   and did not  recall
               ieviewrng Cbristensen Builders invoices. In a memorandun of inten¡iew from the same
               meeting,-a federal law enforcement agent noted that \Villiams estimated that 99 perceirt of
                                                                                         tWillia¡ns stated
               the worl was done by Christensen Builders. In a subsequent interview,
                                                                                                      the
               that he did not recall ever sayng that Christensen Builders performed 99 percent of
               worlç and that such a figure was inconsistent with what he knows to have ocæurred.
 )1
.t
      16.      On August 13, 2008, David Anderson stated he signed an afüdavit on March 25' 2008;
                                                         'Ward chose the individual narnes that would be
               the affiãavit was drafted by Jerry Ward;
               inclu¿ed in the affidavit; fuiderson feltpressued to sign the afñdavit because of his
               relationship with Vfard's daugbter; the tfñdavit contains numerous false stateûie'lrts; and
               that he aodthr other individuals mentioned in the afñdavit were notpromised, offered, or
               actually given immunity.

       17.     From August 30, 2006 to the present, Allen has made the following statements:

                                                               rWilliams and David Anderson had
                a.     Allen stated that he believed that Rocþ
                       drinking problems.

                b.     Allen stated that he was aware that defendant took out a loan to pay a contractor
                       in connection with the renovations at defendant's reside,nce in Girdwood, and that
                       he kns\tr that the conüactor was Augie Paone with Ch¡iste,lrsen Builders.

                c.     Allen st¿ted that on at least two occasions defendant asked Allen for invoices for
                       VECO's work at the Girdwood residence. Allen stated he never sent an invoice to
                       defendant or caused an invoice to be sent to defendant. Allen st¿ted that he
                       believed that defendant would not have paid the actual costs incuned by VECO'
                       even if Allen had sent defendant an invoice, because defe¡rdant would not have
                       wanted to pay that higb of a bill. Alle'n stated that defendant probably would have
                       paid a reducø invoice if he had received one from Alleir or VECO. Allen did not
                       want to give defendant a bill partly because he felt that VECO's costs were higher

                                                        -3-
                                                      A-36
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                     than they needed to be, and partly because he
                                                                   simply did not want defendant to
                     have to PaY.

                                                                          sized bed'      defendant said he
             d.      Allen stated that when he gave defendant a new king
                                                                     it was  pretty good'
                     did not need anew bedbut then commented that

                                                                    making sure he¡{d f.or¡ome things
              e.      Allen   state.d that defendant was cæefrrl about
                                                                       to dinner, and'that defendant also
                      such as his share of the bill when they wørt out
                      paid for his share of a charter ftight'

                                                                           purch.t:q T9 installed the
              f.      Allen stated that although defendant knew that Allen
                                                                            once told Allen that
                      Vikid;; gill at the dirdwood residence, defendant  defendant's'
                      defendaü cõnsidered the gri¡ Allen's property, not

                                                               Augie Paone wilt be provided by
       18.    The grurd jury tanscripts for Robert Persons and
              seParate cover tomorrow'

                                                       *¡r*
                                                                          conceming the prior and pending
                In responso to your request for additional information
                                                          the federal gg-v^ernment has located in its
       local law enforcementinvestigations of Allen,
 I

,t
 ',I
                                                                     a-2004 statement made to the
       possession, custody, *¿ tooõof information couceming
                                                       provi{ed l" O: government in an unrelated' closed
       Anchorage Police Deparbnent ('APDI') anrl
        federal investigation.'rn Febn¡ary 2004,   *   á¿ort femare alleged she had a sexualrelationship
                                                                                                sexual
       with Allen while   she;;;       aduít, but betieved th¿t Atlen had a contempor¿¡oeor¡s
                                                                                                    disclosed in
        relationship with a 15 year-old femalg.
                                                   gttir 'ttnrt femaleu is one  of the individuals
                                                          adult female aneged that duing the    oourse   of her
        our retter to you dated August 25, 200g.) rrt,
        relationship *itrr ruien, nriã pró"i¿e¿ hei
                                                       witu things of valuã including money, tips, housing,
                                                                                                program'
                                                    femare to attend an alcohol rehabilitation
         and a car, as we¡ u, p'ivi"s for'the adult

                                                                   relationship with Allen ended, she was
               The adult female ft¡rttrer alleged that, after her
                                                             to siel¡ a¡ondisãbsure agr€€'menil that would
       contacted by an attorney for Allen *¿ ttqotttø
                                                       rra¿ rrrnrih.d a sexual rerationship with Alleir.
                                                                                                         The
       have containd in part, a statement tnat sïie
                                                            her $5,000 in exchange for the 1ltement' but she
       adult femate suggestedthat the attomey offti.¿
                                                               The adr¡lt female also alleged that Allen
       declined in part Uecause she wanted *ôr, *oouy.
       provided her with . nip-ã"trià,     ¡r*a   oit¡e p,trpo* of preventing the adult feinale to testiû in
        an unspecified Proceeding.

                                                                 oonccming these allegations. Alle,lr st¿ted
                on  Se,ptember 7, 2008, Allen was interviewed
                                                          and he did pay hãr-ttot d*"q. their relationship'
        he did have a relationship with the t¿oft?.*"ie
        Allen advised that the udut fr-¿" *r" "
                                                   pi*titote. Allen-advised that after the relationship
                                                                                                him and
                                               remule's motherbegan to demand money ¡6p
        ended, the adult r*t"rr ana the adult
        threatened to go to the newspapu, to ,*po*
                                                      mrit trr.tioñrrtip. Allen stated that the adult female
        also threatened to make statements oon
                                                  t*ing A119n¡ relatiónship with the "other female"
                                                                                                   her not to
        refere,nced above. elirn stated that the
                                                 .¿ort ã*t.re demanded money in exchange for

                                                            -4-
                                                         A-37
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                                                                                           her threats
    make such statements to the media, Allen refused to pay any money and considered
    to be blaclmail and/or extortion. Allen hired a lawyer to address his belief that he was
                                                                                              being
                                                                   to make  a  false statement,  and
    blackmailed- Allen denied ever offering to pay anyone money
    denied ever causing anyone to leave UrJstaie of Alaska to prevent testimony in any    type  of
    proceeding

                                                                                               you with
             Given the foregoing allegation from the adult female, we are also providing
    some add.itionat infonãatiJn thal as described below, is neither Brady nor Giglio.
                                                                                              In 2007' the
    govemment became awa¡e of a suggestion that, a number          of years      All-en         the "other
                                                                            !8i,        Ttç9
                                                                                                   that
    iemale', to make a sworn, false staiément concerning their relationship. After      hearing
    suggestion, the governmeirt conducted a thorough invgstigation and was r¡nable         to find any
                                                                                   uother female," who
    ,uíå'"nr" to supfort it. The investigation included:    (a) an inquiry  to the
    ¿enie¿  the suggästion;  (b) an  inqurl'to  Allen, who denied   the suggestion¡ (9) a review of notes
    uf.* ¡V . nì'ã.f bw ei¡iorcement agent d*ing a2004 interview of the "othbr fe,male,"; and (d)
     a review of notes taken by             pioseæutor during a2004 interview of the "other fe,male."
                               -ira federal
     Because the government              of no evidence to support any suggestion that Allen asked the
                                   "*rr.
     "other femalè* to make a false statement under oath, neither
                                                                      Brady nor Êiglig apply.

            Finally, we note that during debriefs with the goveriln€nt, Allen stated that Bill Bittner,
    an attorney in Ânchorage, once asked Allen to make a statement that the "other
                                                                                        female"
                                                                   for     purpose  of benefitting  one of
    referenced above had eitorte¿ him and/or blackmailed him,          the
i                                                                                                 false
    Mr. Bittner,s clients. Allen stated that he told Mr. BitErer that any such allegations were
    and refused to make the statement'

                                                              very




                                                                      K. Morris
                                                              Principal Deputy Chief
                                                                                              -:>
                                                              Nicholas A. Marsh
                                                              Edward P. Sullivan
                                                              Trial Attomep

                                                              Joseph W. Bottini
                                                              James A. Goeke
                                                              Assistant United States Attorneys




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                                                     A-38
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                        EXHIBIT H




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                                                                      CRM BOTTINI 030460


From:             Goeke, James (USAAK)
To:               Sullivan, Edward;
                  Bottini, Joe (USAAK);
Subject:          Tyree
Date:             Monday, March 05, 2007 3:34:52 PM



Ed,

Here is information concerning the Bambi Tryee matter we discussed this
morning.

Below are pertinent excerpts from briefing filed in United States v. Boehm, a
case prosecuted in the District of Alaska during 2003-2004 in which I
participated. Bambi Tyree was a co-defendant in United States v. Boehm and
eventually pled guilty sex trafficking and distribution of drugs to minors. During a
debrief of Tyree in anticipation of trial against Josef Boehm, Tyree stated that
she once gave false sworn testimony in the context of a deposition when she
was 15 years old. According to Tyree, the deposition concerned, among other
things, whether she had ever had sex with Bill Allen. She stated to the
government that she denied having sex with Allen during the deposition, but that
her testimony had been false. The government does not have a copy of the
deposition. At the time, Allen's attorney, James Gilmore refused to provide a
copy of the deposition, claiming privilege. The issue came before the court
(Judge John Sedwick, who has reviewed numerous TIII applications in the
current investigation) in the context of a motion in limine from the government.
As the below excerpts demonstrate, the defendant's view of the facts changed
over time as to whether Tyree did or did not have sex with Allen, and
consequently as to whether or not Tyree's statement was true or false.
Ultimately, the court ordered that the defendant in United States v. Boehm could
inquire generically as to whether or not Tyree had made a false statement under
oath and the underlying facts ultimately did not become public. In the context of
the current investigation, the government has not questioned Allen or Tyree: (1)
concerning Allen's relationship with Tyree; (2) concerning whether Allen asked
Tyree to provide a deposition; and (3) concerning whether Allen asked to Tyree
provide specific testimony at a deposition. Accordingly, at this time we do not
have any information from Allen concerning Tyree's previous statements to the
government concerning her deposition.

Excerpt from United States' motion in limine (filed July 2004) in United States v.
Boehm regarding testimony of Bambi Tyree:

              During debriefings, Bambi Tyree admitted to giving a false

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                                                                   CRM BOTTINI 030461


             statement under oath when she was 15 years old. This statement
             is not in the United States’ possession. However, Tyree identified
             the nature of the statement, which is as follows: When Tyree was
             15 years old, she had sex with Bill Allen, president of VECO and
             publisher of the “Voice of the Times” section in the Anchorage
             Daily News. Tyree and Allen were introduced by Tyree’s
             roommate, Lisa Moore. Moore, who apparently knew of the
             untoward and illegal relationship, began blackmailing Allen,
             claiming that she would go to the police and newspapers and tell
             them that Allen had sex with Tyree. Based on this threat, Allen
             asked Tyree to meet with his attorney, James Gilmore, and give a
             sworn statement stating that she never had sex with Allen. Tyree
             did so. The United States confirmed the existence of such
             statement from Mr. Gilmore. Mr. Gilmore stated that this statement
             was work product, and he declined to provide it to the United
             States.

             The United States is turning over this information to the defense
             pursuant to its obligations under Giglio v. United States, 405 U.S.
             150 (1972). The fact that Tyree gave a false statement under oath
             bears on her credibility. However, the fact that Allen was the
             person who asked Tyree to swear to the statement is irrelevant to
             any issue in this case. . . .

Excerpt from United States' reply in United States v. Boehm to defendant's
opposition to United States' motion in limine (reply filed August 2004):

             Within his response, the defendant alleges that Bambi Tyree
             participated in a “scheme to blackmail” Bill Allen, president of
             VECO, with her roommate, Lisa Moore. Further, that the “scheme”
             called for Tyree and Moore to visit with Allen at a hotel room and
             engage in sexual relations with each other in order to entice Allen
             into having sex with the underage Tyree. The defendant then
             claims that Tyree had sex with Allen pursuant to the “scheme.”
             Tellingly, the defendant provides no support for the perpetration of
             such “scheme.”

             Indeed, Tyree will deny participation in any such scheme. It
             appears that Tyree’s roommate, Lisa Moore, was involved in such
             a scheme. According to Moore and Tyree, Moore was working as
             a prostitute when she met Allen on a call. Moore, who was 19
             years old at the time, and Allen, began a relationship. Moore
             introduced Tyree to Allen, who had sex with Tyree. Moore became

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                                                                      CRM BOTTINI 030462


              jealous of Tyree’s relationship with Allen and began blackmailing
              him, telling him that she would go to the authorities and tell them of
              Allen’s relationship with the juvenile Tyree. As a result, Allen
              convinced Tyree to give a false statement to his attorney to defend
              against any prospective criminal action. Tyree complied.

              Not only will Tyree deny being part of Moore’s scheme, but her
              participation in such a scheme is belied by common sense. First, if
              it was part of Tyree’s scheme to blackmail Allen based on their
              sexual encounter, why would she agree to give a statement under
              oath that such encounter never happened? One would think that
              such a statement would completely undermine the reason Allen
              was being blackmailed. Second, Tyree’s admission to the United
              States that she gave false answers under oath did not serve any
              conceivable purpose of her own, nor did it benefit the United
              States. Rather, it triggered the United States obligations under
              Giglio v. United States, 405 U.S. 150 (1972), creating
              impeachment material for the defense. Indeed, had Tyree not
              admitted that she swore falsely concerning her relationship with
              Allen, this relationship would have no relevance whatsoever. . . .

Excerpt from United States' opposition to defendant's motion for reconsideration
in United States v. Boehm (opposition filed October 2004):

              The defendant alleges that the Court made factual and legal errors
              in assessing the defendant’s position with respect to Ms. Tyree.
              First, with respect to the averred factual error, the defendant has
              refined his position and now expresses the view that Tyree did not
              in fact have sex with Allen, but participated in a scheme to
              blackmail him based on a false sexual relationship. Whether there
              was in fact a sexual relationship is irrelevant to the defendant’s
              position; rather, the lynchpin of his argument appears to be Tyree’s
              alleged participation in a scheme to blackmail. Thus, the Court’s
              decision should not be effected by whether or not a sexual
              relationship actually occurred.

              ...

              The defendant proposes to challenge Tyree’s credibility by
              showing that she participated in a scheme to blackmail Allen based
              on allegations that Tyree, a minor at the time and the alleged
              victim, had a sexual relationship with Allen. Thus, the defendant


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                 wants to use this evidence to show that Tyree, now 23 and a co-
                 defendant of Boehm, is falsely accusing him of having sexual
                 relationships with minors, which she has pleaded guilty to
                 facilitating. Setting apart the obvious procedural and factual
                 differences in the claims, and assuming, for the sake of argument,
                 Tyree engaged in such a scheme to blackmail Allen, such
                 attempted introduction of evidence falls under the auspices of three
                 different Rules of Federal Evidence: 608(b), 404(b), and 403.
                 Under each rule, the defendant’s proposed evidence is
                 inadmissible. . . .


JAMES A. GOEKE
Assistant U.S. Attorney
District of Alaska

(907) 271.3387
(907) 271.1500 (fax)




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                        EXHIBIT I




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                                              TIDENAL EURIAU Oì INT'ESTIGATION



                                                                                               D¡o of     rr*rtp*ton   L0 / 28   /2004
                      BAMBI îYREE, date of birth L2/71/7980, Social Security
            Accounb Number XXX-XX-XXXX, was interveiwêd ât the SeatEc
            CorrectlonåI FâciLtiy ln Seattlê, Washíngton. Present with TYREE
            was hêr attosn€y, Sue EIIcn Tåter. Àlso pres€nt wâs Asslstant
            United states Attorney, F¡ank Rurêo. TYREE provlded thc
            followÍng Ínformatfon :
                          TYREE had sex lr¿th BILL ÀLLEN when she was 15 yeârs
            old.     TYREE previously signed a sþrorn affldauit claining she did
            not     have sox with AI¡IIEN. TYREE wâs given the affldavit by
            AL¡ENis aEtorney. and shc siErncd lt at ÀIrLENrs rcguest. TYREE
            provided false lnformation on the affldavit because she cared
            for ÀLI¡EN ånd did not want hlm to gêt into trouble with thc lau.
                       ?lith respecÈ to üOSEF BOEHM, TYREE reported that, smong
            other thlnEs, she would bring BOEHM glrls, with whom BOEHI{ would
            have sex. One of the girls ÎYREE kno¡¡g EOEHU had sex wlth u'as
            SAITEY PURSER, as TYREE had sex wlth BOEHM and PURSER together.

                       "REDMAN"(known to Iâr{ enforcemenÈ as LEONIDAS JONES)
            has þeen staylng aÈ BOEHMT s condominlum with KIRK GRANDSTÀFF.
            ÎYREE heard fronr JESSICÀ HOUSER that REDMAN ls receiving large
            su¡ns of noney fron BOEHM. Àfter BOEHM r.rcnt to ja{I, REDMAN and
            cRA¡lDSlÀFF start,ing brlngfng some of the gJ.r1s who might testify
            against BOEHM Þack to Èha condo ând getting them "high." ÎYREE
            heard that BOEHM lrentêd "SIERRAT'(lcnown to law enforcemenÈ as
            SIERRA ROBERTS) to stay aÈ thE condo and stay around "\7ERRY
            STARi so she would not tesEify aEainst hln,
                                TyREE wag shown            a photogragh of, SrACY THOMPSON, àlagka
            Drivcr's Llcense(ADL) Nu¡nber 66¿0{41. TYREE identifled the
            pêrson ln the picture as TCRAZY sTÀcY.'r IyREE ståted this fernale
            had eex uith BOEHM and nay hava gotten pregnant by him. She j.s a
            drug user
                                TYREE   was ghoïn a photograph of, JAl.fES                                VINCENT
           BI,OMFIELD, ADL Number 5911930. ÎYREE ldentified Èhe person                                                       in
           the píctu¡e as ,'VINCE B'{OMFIELD.'r Àt one polnt TYREE dated
           BLoMFIELD.           His fanlly oÌrn! å real-estate buslncas, but                                        BLOI',FIELD
           once told ?YREE thet he ¡nade hls nônêy fron sellfng drugs. Over
           the course of a three neek pcrlod, ÎYREE and BLOMFIELD spent

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Cqlri¡r¡tþû ofFD302 cl                                                              ,on 07   /22/94    ,P.¡rc   --=t-
                 9100,000     dollar!, on drugs ånd other ite¡ns. LESLIE 9IILLIÃltlS has
                 sold               drugs befo¡e. On one occasfon, BLOMFXETD gave
                            BLOMFIETD
                 ViII,IIAI'|S $X5,0C0 dollare' end ¡YfLtIÀl,lS used thls tnoney to
                 purchase a large anount of drugs. BLOI|FIELD ând his brother,
                 ¡Otltl SIOUFIELD, have "Hefls Nrge).sü connectlons.
                               TYREA wag shown a phoeogrâph of VXNCENT LIBERTINOT âñd
                 rYREE identified the person depictcd in the photograph as
                 "vlNNfE frotn the Bront(.'TYREE has seen VINNIE       at BOEHMTS house
                                                                  Fthlef,n and drug
                 "now ând then." TYREE stat,ed thet he is a
                 dealer.
                           ÎYREE was sholrn a photograph of JÀy rfHAtEY JR., and
                 ÎYREE ldentifÍed the person ln the picture ac "LINLIE." TYREE
                 steted that LINLIE wâs ân "asgoclatetr of BOEtüit, and he dated
                 SALLEY PURSER. He would dtop PURSER off at BOEHM's house so sha
                 could be with BOEtlM, and LINLIE made money from BOEHM for doing
                 :his.
                           IYREE reportsd that BoEtlùl consumed a lot of vlagra
                 p1lls. So¡ne of the pills had been prescribed to hln by a
                 þhysician. However, BOEHM consuned    nore than hla legltlmaÈc
                 þrcscrlptlons,  and thug BOEHl.l purchased viagra from anyone nho
                 would seli lt to hln, BOEHM would have is viagra prescrlptlons
                 fllled at the Carrrs pharrnacy, and TYREE would often Eo with hin
                 to gÍck up the pills. "PETE CAI¿DERON"(known to law enforcement
                 as Þuuno êR¡peno¡¡) would Eive viagra pille to TYREE, t¡rho in turn
                 gave the ptlls to BoEHI'1. "ÀL BoLLING" also supplied BÔEHtl with
                 viagra.




                                                                 A-48                                      TOTfl. P.€B

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                             UNITED STATES DEPART}TENT OF JUSTICE
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                                         NOTICE TO RECIPIENT

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                              ¡¡range for lhe rctum of a¡l documcnts transntitled.




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                                                                             cRM BOTTINI 059466




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           COMES NOW the United States and requests an advance ruling

    Court pertaining to impeachment evidence pertaining to Bambi Tyree,      as   well as

    to preclude cross-examination of Bambi Tyree and her sister, Tia Tyree, regarding

    a drug-related arrest that occurred approximately 8 years ago.




           During debriefrngs, Bambi Tyree admitted to giving a false statement under

    oath when she was l5 years old. This statement is not in the United States'

    possession. However, Tyree identified the nature of the statement, which is as

    follows: When Tyree was 15 years old,    she had sex   with Bill Allen, president of

    VECO and publisher of the "Voice of the Times" section in the Anchorage Daily

    News. Tyree and Allen were introduced by Tyree's roommate, Lisa Moore'
    ttt-

    Moore, who apparently knew of the untoward and illegal relationship, began

    blackmailing Allen, claiming that she would go to the police and newspapers and

    tell them that Allen had sex with Tyree. Based on this threat, Allen asked Tyree to

    meet with his atomey, James Gilmore, and give a sworn statement stating that she

    never had sex with Allen. Tyree did so. The United States confirmed the

     existence of such statement from Mr. Gilmore' Mr. Gilmore stated that this

     statement was work product, and he declined to provide    it to the United   States.


           The United States is tuming over this information to the defense pursuant to

     its obligations under Giglio v. U-nited States,405 U.S. 150 (1972). The fact that


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                                                                              cRM BOTTINI 059467



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     Tyree gave a false statement under oath bears on her credibility. However, the fact

     that Allen was the person who asked Tyree to swear to the statement is inelevant

     to any issue in this case. Therefore, the United States asks the Couñ to limit

     inquiry to the fact that Tyree gave a false statement under oath when she was l5

     years   old. Upon information and belief, defense counsel intends to question Tyree

     about her relationship with Allen, which also should be precluded as irrelevant

     and in violation of Rule 412.

             To be clear, the United States does not have any interest in protecting Allen

     from what he did. Indeed, he may still face charges for statutory rape. However,

     the United States is concerned about the potential distraction introduction of such

     evidence may create. Because Allen is a well-known figure in the community,

     there is a danger of "the sideshow taking over the circus." The trial of the instant

      case is about Boehm, whether he traded drugs for sex    with girls, whether he ran a

      crackhouse, and related issues. Certainly the credibility of witnesses is relevant,

      Sexualrelationships that witnesses had before they joined the conspiracy are not.

      Thus, the relevance of Allen's name is substantially outweighed by the confusion

      of the issues and the waste of time it would result in. Accordingly, the Court

      should preclude inquiry into Tyree's relationship with Allen pursuant to Fed. R.

      Evid.403.

              Ms. Tyree has adult criminal convictions for Driving with license suspended


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                                                                                           cRM BOTTTNI 059468




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            and for giving false information, both in 2003. The United States seeks to

            preclude defense from asking about the Driving with license suspended

            conviction. Ms. Tyree also has fìve juvenile adjudications. Four of these

            adjudications occurred during lgg4,when Ms. Tyree was l3 years old: two assault

            misdemeanors and two Burglary in the First Degree felonies. Given that these

            adjudications occuned nearly l0 years ago, if not over l0 years, the United States

            submits that inquiry and cross examination about these juvenile adjudications

            would not contribute to "a fair determination of the issue of guilt or innocence" in

    ¡       this matrer. Fed. R. Evid. 609(d). The other adjudication is for a drug related
I

i           frlony, which does not bear on credibility, committed in 1997'

                   In addition, in several conversations with the government, counsel for

            defendant has alluded to an arrest of Tyree when Tyree was a
                                                                         juvenile. Ms. Tyree

                                                                                        charged
            was arrested at the Anchorage airport, along with her sister Tia Tyree, and

             with possession of cocaine. The case against Tyree was later dismissed. Thus, the

             United States moves for a pre-trial ruling precluding defense counsel from

             inquiring about the circumstances of this arrest, as it is neither   a   conviction nor is


             the character of the alleged acts probative of Ms. Tyree's credibility. See Fed.
                                                                                              R.


             Evid.608(b).        SeNv{tü- 6r\hrrt$                         lttS ßQtJ€3f
             Impeachment of Tia Tyree

                   Finally, Tia Tyree, Bambi's sister, may be a witness for the United States at


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                                                                                               cRM BOTT|N| 059469


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'         trial' Tia Tyree was a¡rested at the same time as Bambi               Tyree, and was convicted

          in federal court of a felony drug crime. she was represented        .weidner,
                                                                       by Mr.

          defendant's curent lawyer, in that case. The United
                                                              States asks for a ruling

          pursuant to Fed. R. Evid.609(a) ro preclude the questioning
                                                                      of Tia Tyree
          regarding the underlying facts of this conviction. Pursuant
                                                                      to Fed. R. Evid.

          609(a)' the defendant should only be allowed to quesrion Tia
                                                                       Tyree regarding the

          fact that she has a conviction for a drug            felony. In addition, the govemment
    '    brings to the Court's and Mr. Weidner's attention his prior representation
                                                                                    of a
         probable witness, so that any problems this may create can
                                                                    be discussed at the

         court's pretrial hearing.

                  RESPECTFULLY submitted this lTrh day of May,z}o4,ar Anchorage,

         Alaska.

                                                                     TIMOTHY M. BURGESS
                                                                     United States Attorney


                                                                     FRANK V. RUSSO
                                                                     Assistant U.S. Attomey
        t dectare under penalty ofperjury that a true and conect
        copy of ûe foægoing was sent to the foltowing counset of
        rccord oo, May 17,2fl)4 via:

        Philþ Weidner, Esg
        Kevin Fitzgerald, Esq.
        Rex. L. Bmlcr

                (X) F¡x


        ExecuEd at Anchomge, Ataska, oo   MEy_,    2004.




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                        EXHIBIT J




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                                                                                                    CRM GOEKE 078272




Goeke, James (USAAK)
From: Goeke, James (USAAK)
Sent: Sunday, September 07, 2008 8:16 PM
To: Marsh, Nicholas (CRM); Bottini, Joe (USAAK); Sullivan, Edward (CRM); Morris, Brenda
                      (CRM); Kepner, Mary Beth (FBI); Joy, Chad E. (FBI); Welch, William (CRM)
Subject: RE: BA disclosure


I have reviewed the Boehm files in storage. Besides the APD reports we have already dealt with, I found the following:

   . Notes of mine dated 4-15O4 from a debrief of Bambi wherein I wrote "Lisa Moore w/Bill Allen"

       Notes of mine dated 4O1O4 from a debrief of Bambi wherein I wrote "Car from Bill Allen; Bill didn't like around
       Joe; met through Lisa Moore; For Bill called escort service, gave girl Angel Gross; at this time Bambi staying with
       Lisa Moore; Lisa tried to bring Allen to Bambi; Lisa and another tried to blackmail; helped when fount out locked
       out." Several pages later in the same notes I wrote "Bill Allen" with no further explanation, the notes before this
       entry relate to Boehm and the notes after relate to a hotel room where Bambi stayed with Boehm in 2003.

       I found multiple other notes from debriefs of Bambi on other dates with no reference to Bill Allen. When all of
       these notes were taken, I did not know who Bill Allen was and did not care.




        I believe Blomfeld has an extensive criminal history.




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                                                                                                    CRM GOEKE 078273




Let's discuss whether any of this new stuff above merits further disclosure.

For what it's worth, at a minimum, based on the foregoing, think we add languag'' along the lines of;




I note, though, a minor point, that Bambi's 302 on this point says that the idea to meet with the lawyer was hers and
Allen's.




I realize that we have beaten this topic to death, but please bear with me. Because I was involved in both cases and
then also charged the woman in a federal drug case who is the apparent accuser of Allen in the new APD investigation, I
am keen to make sure our disclosure is as accurate as possible.


JAMES A. GOEKE
Assistant us. Attorney
District of Alaska

(907) 271-3387



From: Goeke, James (USAAK)
Sent: Sunday, September 07, 2008 2:17 PM
To: Marsh, Nicholas (CRM); Bottini, Joe (USAAK); Sullivan, Edward (CRM); Morris, Brenda (CRM); Kepner, Mary Beth
(FBI); Joy, Chad E. (FBI); Welch, William (CRM)
Subject: RE: BA disclosure




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                                                                                                   CRM GOEKE 078274




 think we "c to keep somrthing in along the lres of:




It doesn't have to be precisely that language, but I think it should be stated.

From: Marsh, Nicholas (CRM)
Sent: Sunday, September 07, 2008 1:10 PM
To: Goeke, James (USAAK); Bottini, Joe (USAAK); Sullivan, Edward (CRM); Morris, Brenda (CRM); Kepner, Mary Beth
(FBI); Joy, Chad E. (FBI); Welch, William (CRM)
Subject: BA disclosure


I took a first crack at streamlining the Allen Giglio disclosure (see below). Please take a read and let me know your
thoughts. Thanks, Nick

In response to your request for additional information concerning the prior and pending local law enforcement
investigations of Allen, the federal government has located in its possession, custody, and control, a formal
memorandum and an Anchorage Police Department report from an unrelated case that refers to Mr. Allen.
According to these reports, in February 2004, an adult female made allegations to the Anchorage Police
Department concerning Mr. Allen. The adult female alleged that she had a sexual relationship with Mr. Allen
while she was an adult, but that she believed that Allen had a contemporaneous sexual relationship with a 15
year-old female. (The "other female" is one of the individuals disclosed in our August 25, 2008, letter to you.)
The adult female alleged that during the course of her relationship with Allen, Allen provided her with things of
value, including money, trips, housing, and a car, as well as paying for the adult female to attend an alcohol
rehabilitation program.

The adult female further alleged that, after her relationship with Allen ended, she was contacted by an attorney
for Allen and requested to sign a nondisclosure agreement that would have contained, in part, a statement that
she had never had a sexual relationship with Allen. The adult female suggested that the attorney offered her
$5,000 in exchange for the statement, but that she declined in part because she wanted more money.

On September 7, 2008, Allen was interviewed concerning these allegations. Allen stated that he did have a
relationship with the adult female and that he did pay her rent during their relationship. Allen advised that the
adult female was a prostitute. Allen advised that after the relationship ended, the adult female and the adult
femal& s mother began to demand money from him and threatened to go to the newspaper to expose their
relationship. Allen stated that the adult female also threatened to make statements concerning Allen's
relationship with the "other female" referenced above. Allen stated that the adult female demanded money in
exchange for her not to make such statements to the media. Allen refused to pay any money and considered her
threats to be blackmail and/or extortion. Allen hired a lawyer to address his belief that he was being
blackmailed. Allen denied ever offering to pay anyone money to make a false statement.

Allen further stated that Bill Bittner, an attorney in Anchorage, once asked Allen to make a statement that the
"other female" referenced above had extorted him andlor blackmailed him. Allen stated that he told Mr. Bittner
that any such allegations were false.




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                        EXHIBIT K




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                                                                                        cRM030882



     From:             Marsh, Nicholas
     To:               Goeke, James   (USMK; "Bottini. Joe (USMKI": Sullivan, Edward;
                       Morris. Brenda; Welch. William:
     Subject:          RE: Alternate version of 608(b) motion
     Date:             Thursday, August 14, 2008 9:31:05 AM




     My thoughts on this, for what they're wofth:

     I absolutely agree re: fed involvement in state investigation of Allen.
     I vote to include Rick in the MIL re: convictions.

     I think we should not f¡le a MIL on the alcohol abuse because, after thinking
     about it, I think we're going to lose the motion big-time. The cases on sexual
     deviancy and narcotics use are all great, but it seems to me that excessive
     alcohol use bears on the witness' memory and percept¡on.

     Either way, I think we should remove Dave from all pleadings because we're not
     going to call him in a million years.
,¡   If we had something to turn over re: the alleged subornation of perjury, I would
     obviously vote yes to doing so. But given that we have nothing to turn over --
     not even an independent allegation, just a mistake in a brief that's inconsistent
     with the brief writer's notes -- I don't think we have any disclosure to make,
     much less a disclosure obligation.

     If we were to make a disclosure, I think it would be something like "another
     unrelated prosecutor mistakenly suggested in a sealed filing that Allen suborned
     perjury, but the prosecutor's notes directly contradict the suggestion, and
     subsequent investigation by the government revealed no evidence of Allen
     taking any steps whatsoever to suborn perjury." And when I read that, it seems
     like to me we shoudn't be making any disclosure at all. But I absolutely defer to
     the collective on this one.

     -----Original Message-----
     From: Goeke, James (USAAK) [mailto:James.Goeke@usdoj.gov]
     Sent: Thursday, August 14, 2008 4:15 AM
     To: Bottini, Joe (USAAK); Sullivan, Edward; Marsh, Nicholas; Morris, Brenda;
     Welch, William
     Subject: Re: Alternate version of 608(b) motion
 I
.¡
     As I sit here rearranging my cancelled flights after 3+ hours on the tarmac with
     a toddler, for what it's worth, I vote to include Rick and include Dave in the MIL.
     I also vote to make some disclosure ofA-59the rumored procurement of a false
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                                                                                      cRM030883



         statement from Bambi by Bill in our Giglio letter along with a denial of the false
         asseftion of federal help with the state's suspended sex investigation of Bill. I
         think Joe is right, the rumor about an alleged false statement is out there (could
         be repeated in an APD report from the recent reopened investigation for
         instance). We did our due diligence, and both parties deny that Bill procured
         the statement, therefore previous statements by the govt in the Boehm case to
         the contrary were an eroneous assumption. And I know this has been all dealt
         with by PRAO at least twice, but nonetheless, shouldn't we front the issue out
         and not have W&C suggesting to the DC court that we held something back.
         With the Alaska cases, Judge Sedwick handled Bambi's case, and had notice of
         the issues and context and there was no suggestion at that time that Bill's plea
         included federal help with any state investigation. Here the couft does not have
         Judge Sedwick's background in both cases and there is now a false suggestion
         made after the Alaska trials that the govt helped Bill with the suspended state
         investigation. So, at the end of the day, the false statement issue coupled with
         the false suggestion that the govt helped Bill on the state investigation as paft of
          his plea makes me vote to get out in front of both issues and make some
          mention of both the false suggestion of federal help with the state investigation
         and the rumored false statement procurement in our Giglio letter.

         JAG




         ----- Original Message -----
         From: Bottini, Joe (USAAK)
         To: Sullivan, Edward (CRM); Goeke, James (USAAK); Marsh, Nicholas (CRM);
         Morris, Brenda (CRM); Welch, William (CRM)
         Sent: Thu Aug t4 02:24210 2008
         Subject: Alternate version of 608(b) motion



         Here's an alternate version adding Rick Smith into the mix under the theory that
         if we add him to the motion to exclude prior convictions, why not throw him in
         with the "no personal vices" crowd - given that Rick is a stone alcoholic and
         everyone appears to know it.

         Granted, it's unlikely that we call him at trial, but it's possible. If anyone thinks
         that is too disingenous, then we can leave him out. Not much heaftburn about
         that.
     l
tì
         Other than that, nice job to Ed and whoever else at PIN helped to flesh this out.
         It looks good.
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                                                                              cRM030884



                                                                        procurement of
     The big question: This obviously does not front out the rumored
                                                                         possibly
     the falõe statement from Bambi by Bill. Their response to this will
     ãevetop how much they know about that. Do we notice them up in the
                                                                               Giglio
                                                                              mention
     disclosure letter about th¡s ¡ssue?? I worry that if we don't make some
                                                                                     -
     of it - passinE mention of it as a rumor which we investigated and disproved
     they may resþond to the MIL and raise it - thus possibly making i!199k like we
                                                        aw_ale of what PRAO says, but
      öoiånt¡àíly $ied to hide something. Completely
     äo *.   run that risk? Just don't want to run afoul of Emmet G. over this.

     JWB <<US 608(b) motion.v2.wpd>>




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                        EXHIBIT L




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                                                                                          CRM GOEKE 079582




                                                                   U.S. Department of Justice

                                                                   Criminal Division
                                                                   Public Integrity Section


                                                                   Washington, DC 20850


August       ,   2008


                         Esq.
Williams & Connolly LLP
725 Twelfth Street, N.W.
Washington, D.C. 20005

Re: United States v. Theodore F. Stevens
      No. 08-CR-231 (EGS)

Dear Mr.

         This letter addresses the disclosure of potential impeachment material relating to certain
potential government witnesses. The following information - as well as the attachments to this
letter - are provided to you in that regard.

         BILL J. ALLEN:

         Prior Criminal History

       As we noted in our Motion in Limine to Exclude Prior Criminal Convictions of
Prospective Government Witnesses (filed on August 14, 2008), Mr. Allen's criminal history
records indicate that he was arrested some 40 years ago in Alaska for the following offenses:

         Shoplifting (misdemeanor), Ak. Stat. § 11.46.150 11/11/1968

         Petty Larceny (misdemeanor), Ak. Stat. § 11.46.150                      11/11/1968

       These records (a copy of which are attached at Attachment 1) do not show any disposition
following arrest, and it is therefore quite possible that these were simply arrests not resulting in
any subsequent prosecution or actual criminal convictions.1




           It is Allen's recollection that he was not prosecuted for these charges.




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                                                                                     CRM GOEKE 079583




        On May 7, 2007, Allen pleaded guilty to three separate felony offenses in the United
States District Court for the District of Alaska: Conspiracy to Commit Extortion Under Color of
Official Right, Bribery, and Honest Services Fraud in violation of 18 U.S.C. § 371; Bribery
Concerning Programs Receiving Federal Funds in violation of 18 U.S.C. § 666(a)(2); and
Conspiracy to Impair and Impede the Internal Revenue Service, in violation of 18 U.S.C. § 371.
Those guilty pleas were entered pursuant to a written plea agreement with the United States. A
copy of Allen's plea agreement paperwork is attached hereto as Attachment 1.

       Allen is presently awaiting sentencing on these convictions.

       Prior False Statements to the Government

        Bill Allen was recently interviewed concerning a target of an unrelated criminal
investigation. During the course of that interview, Allen was not truthful concerning financial
benefits provided to an elected state public official. The following day, Allen contacted that
government agent and volunteered that he had not been truthful about this subject matter in an
effort to protect a family member.

       Investigation Involvin2 Alle2ations of Sexual Misconduct

        As we disclosed in our Motion in Limine to Exclude Inflammatory, Impermissible Cross-
examination, (filed under seal on August 14, 2008), the government is aware that Allen has
previously been the subject of a criminal investigation conducted by the Anchorage Police
Department (APD) regarding allegations that he engaged in a sexual relationship with a juvenile
female approximately ten years ago. As we noted in our filing, Allen has not been charged with
any criminal offense stemming from this investigation and it was our understanding that the
investigation which was briefly reopened this year - was again recently closed or suspended.

       On August 20, 2008, the government learned that there is another pending investigation
by the Anchorage Police Department into similar allegations involving Allen.

       As we also noted in our filing, the government is aware of a rumor that the United States
Attorneys Office in the District of Alaska played some role in the earlier investigation of Allen
being suspended by APD due to Allens status as a cooperating witness. Such allegations are
completely baseless and untrue. The initial sexual misconduct investigation involving Allen was
suspended by the Anchorage Police Department Iwo years before he was contacted by the
government regarding the public corruption investigation.

        The government has learned that Allen has provided financial benefits to the individual
who was the subject of the earlier investigation as well as to family members of the subject. The
government is also aware that there are allegations that Allen has provided financial benefits in
the past to the subject of the pending investigation.



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                                                                                     CRM GOEKE 079584




        "The government is also aware that the female subject of the earlier investigation has
stated that she made afalse statement regarding the nature of her relationship with Allen.
The subject of the earlier investigation is emphatic that she made the false statement on her
own initiative and Allen denies that lie caused her to make the statement."

       Rumors of Excessive Alcohol Use

        The government is also aware of rumors concerning excessive alcohol use by Allen.
While Allen may have appeared to have been intoxicated during some of the conversations
intercepted by the government during the period of electronic surveillance, the government is
unaware of any chronic excessive alcohol use by Allen.


       RICHARD L. SMITH:

       Prior Criminal History

       As we noted in our Motion in Limine to Exclude Prior Criminal Convictions of
Prospective Government Witnesses (filed on August 14, 2008), Mr. Smith's criminal history
records indicate that he has been arrested for the following offenses:

       DWI (misdemeanor), Ca. Veh. Code 23 152(b)                           12/23/1969

       DWI (misdemeanor), [Washington State Code citeJ                      10/26/1972

       These records (a copy of which are attached at Attachment 3) do not show any disposition
following arrest, and it is therefore possible that these arrests did not result in any subsequent
prosecution or actual criminal convictions.2

        On May 7, 2007, Smith pleaded guilty to three separate felony offenses in the United
States District Court for the District of Alaska: Conspiracy to Commit Extortion Under Color of
Official Right, Bribery, and Honest Services Fraud in violation of 18 U.S.C. § 371; Bribery
Concerning Programs Receiving Federal Funds in violation of 18 U.S.C. § 666(a)(2); and
Conspiracy to Impair and Impede the Internal Revenue Service, in violation of 18 U.S.C. § 371.
Those guilty pleas were entered pursuant to a written plea agreement with the United States. A
copy of Smith's plea agreement paperwork is attached hereto as Attachment 4.

       Smith is presently awaiting sentencing on these convictions.




       2 It is Smith's recollection that he was convicted in the 1969 DWI case, but was not
prosecuted after arrest in the 1972 incident.

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                                              A-65
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                                                                                    CRM GOEKE 079585




       Rumors of Excessive Alcohol Use

      The government is also aware of rumors concerning excessive alcohol use by Smith.
Smith may have an alcohol dependency issue.


       iAYID A. ANDERSON

       Prior Criminal History

       David Anderson's criminal history records (copy attached at Attachment 5) show the
following criminal history for Anderson:

       Failing to Give Information of Accident (misdemeanor),3 7/12/1987
       Ak. Stat. § 28.35.110(b)

       Driving Without License (misdemeanor), 2/1/1989
       Ak. Stat. § 28.15.011

       Reckless Driving (misdemeanor),                             6/7/2005
       Ak. Stat. § 28.35.030

       Prior False Sworn Statement

        The government recently learned that Anderson signed an affidavit, dated March 25,
2008, which contained false statements relating to government agents allegedly granting
immunity to Anderson, as well as to several of Anderson's friends and family members (as well
as family members of his friends) for any criminal acts occurring within the last 10 years.
Anderson has explained that he did not prepare the affidavit, but has acknowledged that he knew
it contained false statements when he signed it.

       Other Criminal Conduct

        During the course of the public corruption investigation, the government has discovered
that Anderson appears to have been involved in an illegal "conduit contribution" scheme
involving employees of VECO Corporation who were reimbursed or otherwise compensated by
the corporation to cover individual campaign contributions which they had made.




         The criminal history records show that Anderson received a suspended imposition of
sentence for this conviction and that it was later set aside.

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                                                                                   CRM GOEKE 079586




       Rumors of Excessive Alcohol Use

         The government is also aware of rumors concerning excessive alcohol use by Anderson
and it is possible that Anderson may have been medically treated in the past for an alcohol
dependency issue.


       RICHARD B. WILLIAMS

       Prior Criminal Histozy

       Richard B. ("Rocky") Williams' criminal history records (copy attached at Attachment 6)
show the following criminal history for Williams:

       Manslaughter/Other - Neg. (felony), Ak. Stat. § 11.41.120 8/14/1985

       Failure to Assist/Aid (felony), Ak. Stat. § 28.35.060 6/9/1 986

       DWI (misdemeanor), Ak. Stat. § 28.35.030 6/22/1999

       Rumors of Excessive Alcohol Use

         The government is also aware of rumors concerning excessive alcohol use by Williams
and it is possible that Williams may have an alcohol dependency issue.


       WITNESSES GRANTED USE IMMUNITY

       During the investigation, the following prospective government witnesses were granted
"use immunity". Copies of any relevant use immunity letter agreements are attached at
Attachments -

       -   JACK BILLINGS

       -   CHERYL BOOMERSHINE




       ' The Allen and Smith plea agreement documents address the "use immunity" issues.
See, "Cooperation Agreement" filed as a sealed "Second Addendum" to each of their respective
Plea Agreements. Copies attached.

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                                                                                       CRM GOEKE 079587




        -   JUSTIN STIEFEL5

        -   BILL J. ALLEN

        -   RICHARD L SMITH

        -   BARBARA FLANDERS




                                                     Very truly yours,

                                                     WILLIAM WELCH, II
                                                     Chief, Public Integrity Section


                                                     BRENDA MORRIS
                                                     Deputy Chief, Public Integrity Section
                                                     NICHOLAS A. MARSH
                                                     EDWARD P. SULLIVAN
                                                     Trial Attorneys
                                                     Public Integrity Section
                                                     U.S. Department of Justice

                                                     JOSEPH W. BOTTINI
                                                     JAMES A. GOEKE
                                                     Assistant U.S. Attorneys
                                                     District of Alaska




          During the course of the investigation, the government independently learned that
Stiefel had engaged in criminal conduct. Stiefel has not been promised immunity from
prosecution for this conduct.

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                       EXHIBIT M




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                                                                      CRM BOTTINI 027428


From:             Morris, Brenda
To:               Marsh, Nicholas; Sullivan, Edward;
Subject:          RE: Emailing: Brady-Giglio letter
Date:             Friday, August 22, 2008 1:41:49 PM



I agree, but let me finish playing with it and I'll send it back around to you two.
Thanks Ed.

Brenda K. Morris
Principal Deputy
Public Integrity Section
(202) 514-1439 - Direct
(202) 514-3003 - Facsimile

-----Original Message-----
From: Marsh, Nicholas
Sent: Friday, August 22, 2008 1:40 PM
To: Sullivan, Edward; Morris, Brenda
Subject: RE: Emailing: Brady-Giglio letter

Great, but I strongly believe that the highlighted paragraph should be deleted.
We should not revisit the Bambi non-subornation of perjury stuff. We have
nothing to turn over, we have neither evidence nor an allegation that Allen
directed her to lie, we have investigated this till the end of time, and we have
been blessed by PRAO twice. There is simply no reason for us to revisit it.

-----Original Message-----
From: Sullivan, Edward
Sent: Friday, August 22, 2008 1:11 PM
To: Morris, Brenda; Marsh, Nicholas
Subject: Emailing: Brady-Giglio letter

Guys -- I cleaned up Joe's draft letter.
The message is ready to be sent with the following file or link attachments:

Brady-Giglio letter


Note: To protect against computer viruses, e-mail programs may prevent
sending or receiving certain types of file attachments. Check your e-mail
security settings to determine how attachments are handled.




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                        EXHIBIT N




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                                                                           CRM GOEKE 087255




From:            Goeke, James (USAAK)
To:              Sullivan, Edward; Bottini, Joe (USAAK); Marsh, Nicholas;
                 Kepner, Mary Beth (FBI); Joy, Chad E. (FBI); Morris, Brenda;
Subject:         RE: Emailing: Romain 9-8-08
Date:            Sunday, September 07, 2008 6:25:59 PM



With regard to Allen, I think we need to add something along the lines
of:

Allen stated that at some point he told the "other female" about the
blackmail/extortion attempts by the adult female and that the other
female then asked to speak to Allen's lawyer. Allen stated that he did
not ask or direct the "other female" to speak to his lawyer and is not
aware of what the other female told his lawyer.

It doesn't have to be precisely that language, but I think something
along those lines should be included.

-----Original Message-----
From: Sullivan, Edward (CRM)
Sent: Sunday, September 07, 2008 2:15 PM
To: Goeke, James (USAAK); Bottini, Joe (USAAK); Marsh, Nicholas (CRM);
Kepner, Mary Beth (FBI); Joy, Chad E. (FBI); Morris, Brenda (CRM)
Subject: Emailing: Romain 9-8-08

Here's the current version of the Brady/Giglio letter. Several of the
items are not Brady or Giglio in my mind and, thus, we should go through
them one by one to determine which ones get dropped. We also probably
want to revise the Anderson 302 description. It's too much as currently
stated.

Thanks. Ed




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                        EXHIBIT O




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                                                                               CRM GOEKE 087439



From:              Goeke, James (USAAK)
To:                Morris, Brenda; Marsh, Nicholas; Sullivan, Edward; Welch, William;
                   Bottini, Joe (USAAK);
Subject:           RE: Tyree
Date:              Monday, September 08, 2008 4:34:24 PM

Is this conference call still on?

From: Morris, Brenda (CRM)
Sent: Monday, September 08, 2008 8:38 AM
To: Goeke, James (USAAK); Marsh, Nicholas (CRM); Sullivan, Edward (CRM);
Welch, William (CRM); Bottini, Joe (USAAK)
Subject: RE: Tyree

Can we all meet / telephone conference at 4:00 EST? I know Joe is traveling, but
I’d like to get Bill in on the conversation.

Brenda K. Morris
Principal Deputy
Public Integrity Section
(202) 514-1439 - Direct
(202) 514-3003 - Facsimile

From: Goeke, James (USAAK) [mailto:James.Goeke@usdoj.gov]
Sent: Monday, September 08, 2008 12:30 PM
To: Marsh, Nicholas; Sullivan, Edward; Morris, Brenda; Welch, William;
JBottini@usa.doj.gov
Subject: FW: Tyree
Importance: High



Here’s an email with excerpts from the briefing in Boehm. I’ll have the
notes scanned and sent via pdf separately.

_____________________________________________
From: Goeke, James (USAAK)
Sent: Thursday, October 04, 2007 1:15 PM
To: Nicholas Marsh (Nicholas.Marsh@usdoj.gov)
Subject: FW: Tyree

_____________________________________________
From: Goeke, James (USAAK)
Sent: Monday, March 05, 2007 11:34 AM

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                                                                          CRM GOEKE 087440



To: Sullivan, Edward (Edward.Sullivan@usdoj.gov); Bottini, Joe (USAAK)
Subject: Tyree

Ed,

Here is information concerning the Bambi Tryee matter we discussed this morning.

Below are pertinent excerpts from briefing filed in United States v. Boehm, a case
prosecuted in the District of Alaska during 2003-2004 in which I participated. Bambi
Tyree was a co-defendant in United States v. Boehm and eventually pled guilty sex
trafficking and distribution of drugs to minors. During a debrief of Tyree in
anticipation of trial against Josef Boehm, Tyree stated that she once gave false
sworn testimony in the context of a deposition when she was 15 years old.
According to Tyree, the deposition concerned, among other things, whether she
had ever had sex with Bill Allen. She stated to the government that she denied
having sex with Allen during the deposition, but that her testimony had been false.
The government does not have a copy of the deposition. At the time, Allen's
attorney, James Gilmore refused to provide a copy of the deposition, claiming
privilege. The issue came before the court (Judge John Sedwick, who has
reviewed numerous TIII applications in the current investigation) in the context of a
motion in limine from the government. As the below excerpts demonstrate, the
defendant's view of the facts changed over time as to whether Tyree did or did not
have sex with Allen, and consequently as to whether or not Tyree's statement was
true or false. Ultimately, the court ordered that the defendant in United States v.
Boehm could inquire generically as to whether or not Tyree had made a false
statement under oath and the underlying facts ultimately did not become public. In
the context of the current investigation, the government has not questioned Allen or
Tyree: (1) concerning Allen's relationship with Tyree; (2) concerning whether Allen
asked Tyree to provide a deposition; and (3) concerning whether Allen asked to
Tyree provide specific testimony at a deposition. Accordingly, at this time we do not
have any information from Allen concerning Tyree's previous statements to the
government concerning her deposition.

Excerpt from United States' motion in limine (filed July 2004) in United States v.
Boehm regarding testimony of Bambi Tyree:

             During debriefings, Bambi Tyree admitted to giving a false statement
             under oath when she was 15 years old. This statement is not in the
             United States’ possession. However, Tyree identified the nature of the
             statement, which is as follows: When Tyree was 15 years old, she had
             sex with Bill Allen, president of VECO and publisher of the “Voice of
             the Times” section in the Anchorage Daily News. Tyree and Allen
             were introduced by Tyree’s roommate, Lisa Moore. Moore, who

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                                                                         CRM GOEKE 087441


            apparently knew of the untoward and illegal relationship, began
            blackmailing Allen, claiming that she would go to the police and
            newspapers and tell them that Allen had sex with Tyree. Based on
            this threat, Allen asked Tyree to meet with his attorney, James
            Gilmore, and give a sworn statement stating that she never had sex
            with Allen. Tyree did so. The United States confirmed the existence
            of such statement from Mr. Gilmore. Mr. Gilmore stated that this
            statement was work product, and he declined to provide it to the
            United States.

            The United States is turning over this information to the defense
            pursuant to its obligations under Giglio v. United States, 405 U.S. 150
            (1972). The fact that Tyree gave a false statement under oath bears
            on her credibility. However, the fact that Allen was the person who
            asked Tyree to swear to the statement is irrelevant to any issue in this
            case. . . .

Excerpt from United States' reply in United States v. Boehm to defendant's
opposition to United States' motion in limine (reply filed August 2004):

            Within his response, the defendant alleges that Bambi Tyree
            participated in a “scheme to blackmail” Bill Allen, president of VECO,
            with her roommate, Lisa Moore. Further, that the “scheme” called for
            Tyree and Moore to visit with Allen at a hotel room and engage in
            sexual relations with each other in order to entice Allen into having sex
            with the underage Tyree. The defendant then claims that Tyree had
            sex with Allen pursuant to the “scheme.” Tellingly, the defendant
            provides no support for the perpetration of such “scheme.”

            Indeed, Tyree will deny participation in any such scheme. It appears
            that Tyree’s roommate, Lisa Moore, was involved in such a scheme.
            According to Moore and Tyree, Moore was working as a prostitute
            when she met Allen on a call. Moore, who was 19 years old at the
            time, and Allen, began a relationship. Moore introduced Tyree to
            Allen, who had sex with Tyree. Moore became jealous of Tyree’s
            relationship with Allen and began blackmailing him, telling him that she
            would go to the authorities and tell them of Allen’s relationship with the
            juvenile Tyree. As a result, Allen convinced Tyree to give a false
            statement to his attorney to defend against any prospective criminal
            action. Tyree complied.

            Not only will Tyree deny being part of Moore’s scheme, but her
            participation in such a scheme is belied by common sense. First, if it
            was part of Tyree’s scheme to blackmail Allen based on their sexual

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                                                                          CRM GOEKE 087442




             encounter, why would she agree to give a statement under oath that
             such encounter never happened? One would think that such a
             statement would completely undermine the reason Allen was being
             blackmailed. Second, Tyree’s admission to the United States that she
             gave false answers under oath did not serve any conceivable purpose
             of her own, nor did it benefit the United States. Rather, it triggered the
             United States obligations under Giglio v. United States, 405 U.S. 150
             (1972), creating impeachment material for the defense. Indeed, had
             Tyree not admitted that she swore falsely concerning her relationship
             with Allen, this relationship would have no relevance whatsoever. . . .

Excerpt from United States' opposition to defendant's motion for reconsideration in
United States v. Boehm (opposition filed October 2004):

             The defendant alleges that the Court made factual and legal errors in
             assessing the defendant’s position with respect to Ms. Tyree. First,
             with respect to the averred factual error, the defendant has refined his
             position and now expresses the view that Tyree did not in fact have
             sex with Allen, but participated in a scheme to blackmail him based on
             a false sexual relationship. Whether there was in fact a sexual
             relationship is irrelevant to the defendant’s position; rather, the
             lynchpin of his argument appears to be Tyree’s alleged participation in
             a scheme to blackmail. Thus, the Court’s decision should not be
             effected by whether or not a sexual relationship actually occurred.

             ...

             The defendant proposes to challenge Tyree’s credibility by showing
             that she participated in a scheme to blackmail Allen based on
             allegations that Tyree, a minor at the time and the alleged victim, had
             a sexual relationship with Allen. Thus, the defendant wants to use
             this evidence to show that Tyree, now 23 and a co-defendant of
             Boehm, is falsely accusing him of having sexual relationships with
             minors, which she has pleaded guilty to facilitating. Setting apart the
             obvious procedural and factual differences in the claims, and
             assuming, for the sake of argument, Tyree engaged in such a scheme
             to blackmail Allen, such attempted introduction of evidence falls under
             the auspices of three different Rules of Federal Evidence: 608(b), 404
             (b), and 403. Under each rule, the defendant’s proposed evidence is
             inadmissible. . . .


JAMES A. GOEKE

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                                                          CRM GOEKE 087443




                        Assistant U.S. Attorney


                        District of Alaska


                        (907) 271.3387


                        (907) 271.1500 (fax)




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                        EXHIBIT P




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                                                                              CRM GOEKE 087294



From:             Goeke, James (USAAK)
To:               Morris, Brenda; Marsh, Nicholas; Sullivan, Edward; Welch, William;
                  Bottini, Joe (USAAK);
Subject:          RE: Tyree
Date:             Monday, September 08, 2008 12:45:31 PM

Sure. I think Joe’s plane leaves at 9:30 AK time so he will be in the air, but said he
can call in when he hits Minneapolis.

From: Morris, Brenda (CRM)
Sent: Monday, September 08, 2008 8:38 AM
To: Goeke, James (USAAK); Marsh, Nicholas (CRM); Sullivan, Edward (CRM);
Welch, William (CRM); Bottini, Joe (USAAK)
Subject: RE: Tyree

Can we all meet / telephone conference at 4:00 EST? I know Joe is traveling, but
I’d like to get Bill in on the conversation.

Brenda K. Morris
Principal Deputy
Public Integrity Section
(202) 514-1439 - Direct
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notes scanned and sent via pdf separately.

_____________________________________________
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Sent: Thursday, October 04, 2007 1:15 PM
To: Nicholas Marsh (Nicholas.Marsh@usdoj.gov)
Subject: FW: Tyree

_____________________________________________
From: Goeke, James (USAAK)

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                                                                          CRM GOEKE 087295



Sent: Monday, March 05, 2007 11:34 AM
To: Sullivan, Edward (Edward.Sullivan@usdoj.gov); Bottini, Joe (USAAK)
Subject: Tyree

Ed,

Here is information concerning the Bambi Tryee matter we discussed this morning.

Below are pertinent excerpts from briefing filed in United States v. Boehm, a case
prosecuted in the District of Alaska during 2003-2004 in which I participated. Bambi
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According to Tyree, the deposition concerned, among other things, whether she
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having sex with Allen during the deposition, but that her testimony had been false.
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attorney, James Gilmore refused to provide a copy of the deposition, claiming
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             sex with Bill Allen, president of VECO and publisher of the “Voice of
             the Times” section in the Anchorage Daily News. Tyree and Allen

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                                                                         CRM GOEKE 087296


            were introduced by Tyree’s roommate, Lisa Moore. Moore, who
            apparently knew of the untoward and illegal relationship, began
            blackmailing Allen, claiming that she would go to the police and
            newspapers and tell them that Allen had sex with Tyree. Based on
            this threat, Allen asked Tyree to meet with his attorney, James
            Gilmore, and give a sworn statement stating that she never had sex
            with Allen. Tyree did so. The United States confirmed the existence
            of such statement from Mr. Gilmore. Mr. Gilmore stated that this
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            Allen, who had sex with Tyree. Moore became jealous of Tyree’s
            relationship with Allen and began blackmailing him, telling him that she
            would go to the authorities and tell them of Allen’s relationship with the
            juvenile Tyree. As a result, Allen convinced Tyree to give a false
            statement to his attorney to defend against any prospective criminal
            action. Tyree complied.

            Not only will Tyree deny being part of Moore’s scheme, but her
            participation in such a scheme is belied by common sense. First, if it

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             was part of Tyree’s scheme to blackmail Allen based on their sexual
             encounter, why would she agree to give a statement under oath that
             such encounter never happened? One would think that such a
             statement would completely undermine the reason Allen was being
             blackmailed. Second, Tyree’s admission to the United States that she
             gave false answers under oath did not serve any conceivable purpose
             of her own, nor did it benefit the United States. Rather, it triggered the
             United States obligations under Giglio v. United States, 405 U.S. 150
             (1972), creating impeachment material for the defense. Indeed, had
             Tyree not admitted that she swore falsely concerning her relationship
             with Allen, this relationship would have no relevance whatsoever. . . .

Excerpt from United States' opposition to defendant's motion for reconsideration in
United States v. Boehm (opposition filed October 2004):

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             with respect to the averred factual error, the defendant has refined his
             position and now expresses the view that Tyree did not in fact have
             sex with Allen, but participated in a scheme to blackmail him based on
             a false sexual relationship. Whether there was in fact a sexual
             relationship is irrelevant to the defendant’s position; rather, the
             lynchpin of his argument appears to be Tyree’s alleged participation in
             a scheme to blackmail. Thus, the Court’s decision should not be
             effected by whether or not a sexual relationship actually occurred.

             ...

             The defendant proposes to challenge Tyree’s credibility by showing
             that she participated in a scheme to blackmail Allen based on
             allegations that Tyree, a minor at the time and the alleged victim, had
             a sexual relationship with Allen. Thus, the defendant wants to use
             this evidence to show that Tyree, now 23 and a co-defendant of
             Boehm, is falsely accusing him of having sexual relationships with
             minors, which she has pleaded guilty to facilitating. Setting apart the
             obvious procedural and factual differences in the claims, and
             assuming, for the sake of argument, Tyree engaged in such a scheme
             to blackmail Allen, such attempted introduction of evidence falls under
             the auspices of three different Rules of Federal Evidence: 608(b), 404
             (b), and 403. Under each rule, the defendant’s proposed evidence is
             inadmissible. . . .


JAMES A. GOEKE

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                                                          CRM GOEKE 087298




                        Assistant U.S. Attorney


                        District of Alaska


                        (907) 271.3387


                        (907) 271.1500 (fax)




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                        EXHIBIT Q




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                                                          CRM GOEKE 007011




     00001
     1        IN THE UNITED STATES DISTRICT COURT
     2          FOR THE DISTRICT OF ALASKA
     3 INVESTIGATION RE:           )
     4                 )
     5 POLITICAL CORRUPTION            )
     6 ________________________________)
     7
     8            THE TESTIMONY OF
     9            ROBERT B. WILLIAMS
     10           BEFORE THE GRAND JURY
     11              *****
     12
     13
     14 JAMES GOEKE, ASSISTANT UNITED STATES ATTORNEY
     15 EDWARD P. SULLIVAN, TRIAL ATTORNEY, DOJ
     16 NICHOLAS A. MARSH, TRIAL ATTORNEY, DOJ
     17
     18
     19              *****
     20
     21
     22                 Anchorage, Alaska
     23                 November 7, 2006
     24                 3:12 p.m.
     25




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                                                                        CRM GOEKE 007055




     00045




     22 Q     Okay. I'd like to go back to the Girdwood project for a
     23      minute. Were you ever involved in any aspect of the
     24      billing process for this project?
     25 A     I would pick up the billings from Augie on a monthly




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                                                                           CRM GOEKE 007056




     00046
     1       basis, and as -- I didn't go through each one
     2       individually, but I would check to make sure that people
     3       were basically there, and that basically everything
     4       looked fine, and then I turned them in to Veco.
     5 Q       Okay. When you would get these bills, tell us what you
     6       recall them looking like?
     7 A       Usually there would be a cover letter, they'd be in a
     8       large manilla envelope. Augie would have back-up
     9       invoices for some of it, some time cards. Usually there
     10       was a cover sheet that laid out most of what was in the
     11       packet.
     12 Q      Okay. And after Augie gave you these bills, what
     13       generally did you do with them?
     14 A      I took them to the Veco main office and either turned
     15       them in to the gal at the front desk, or if Bill was in
     16       the office, I would go in and see him and tell him what
     17       was going on and report in.
     18 Q      And just to be clear, when you say Bill, you're referring
     19       to?
     20 A      Bill Allen, the owner of Veco.
     21 Q      Do you remember the name of the woman with whom you
     22       dropped off these packets sometimes?
     23 A      Sometimes if there was nobody in the office, I would
     24       leave them with the front desk. The girl there was
     25       Billie. I've known her forever. I only know her by




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                                                                            CRM GOEKE 007057




     00047
     1       Billie.
     2 Q       After the -- after you dropped these bills off at Veco,
     3       whether it was to the front desk person or to Bill, do
     4       you know what happened to them after that?
     5 A       To the best of my knowledge, they got sent down to
     6       Washington, to the Senator.
     7 Q       Okay. Were you involved ever in any of those bills being
     8       sent?
     9 A       I never mailed them, no.
     10 Q       Okay. Sir, I think you indicated that you knew an
     11       individual named Bob Persons, is that correct?
     12 A       Yes, I do.
     13 Q       Did you ever give any of the bills associated with this
     14       project to Bob Persons?
     15 A       No, I did not.
     16 Q       Mr. Williams, during the time that this project was going
     17       on, from when you first got involved to when it was done,
     18       tell us about the conversations that you had with Senator
     19       Ted Stevens? How many did you have, first of all?
     20 A       Probably not more than three or four, maybe five at the
     21       most. The most memorable thing I remember him saying at
     22       any of them is he liked the work that was being done, but
     23       as long as long as we kept Catherine happy, he would be
     24       happy, so.....
     25 Q       And, sir, do you know who he meant when he said




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     1       Catherine?
     2 A       His wife.....
     3 Q       And.....
     4 A       .....Catherine Stevens.
     5 Q       Catherine Stevens. Do you recall when that conversation
     6       took place?
     7 A       No, I do not.
     8 Q       Okay.
     9 A       I believe the house was already framed up at the time,
     10       and we were talking more about colors and that sort of
     11       thing, and the finishing touches.
     12 Q       Okay. Do you recall any other conversations you had with
     13       Senator Stevens about this -- about the house project?
     14 A       Nothing substantial. He'd come down every once in a
     15       while and take a look at what was going on. I think he
     16       may have come down a few times when I wasn't there, but
     17       he seemed to be happy with the work, and that was good.
     18 Q       Do you know whether or not during the time that you were
     19       doing the work on this house, whether the Senator knew
     20       that you were an employee of Veco?
     21 A       Yes, he did.
     22 Q       Okay. And why do you think that?
     23 A       Well, the first time I ever met the Senator was at a
     24       fundraising event for some of the Republican people, and
     25       I believe it was at Mark Allen's house.




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    00074




    24          GRAND JUROR: Mr. Williams, you said that when
    25 you were -- when you picked up the invoices from Augie, you




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    00075
    1 didn't go through each one, but you went through some of them and
    2 it looked like there was a cover letter, a manilla envelope,
    3 back-up invoices. You took them to the main office. You gave
    4 them either to the girl or Bill. And then when they asked you
    5 what happened with them, you thought they were mailed to
    6 Washington to.....
    7 A       Senator Stevens.
    8             GRAND JUROR: .....Senator Stevens?
    9 A       Yes.
    10             GRAND JUROR: Why -- what would make you think
    11 that, if you didn't do it yourself?
    12 A       Because it was my understanding that one of the reasons
    13       that -- when I talked to -- with Bill and Ted and we got
    14       Augie involved, that Augie would be paid by Ted
    15       directly., and that Ted liked that way.
    16             GRAND JUROR: Okay. Thank you.
    17             MR. GOEKE: Any other questions from any other
    18 members of the grand jury? Yes? Yes, ma'am, in the back.
    19             GRAND JUROR: While you were building and
    20 renovating these homes, were you on Veco's time and dollar?
    21 A       Yes, I was.




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